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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

  In re:                                          §    Case No. 15-07401-JJG-7
                                                  §
  S&S STEEL SERVICES, INC.                        §
                                                  §
                                                  §
                      Debtor(s)                   §

           CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
           CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

          Randall L. Woodruff, chapter 7 trustee, submits this Final Account, Certification that
  the Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



 Assets Abandoned:             $0.00                  Assets Exempt:       NA
 (without deducting any secured claims)



 Total Distributions to                               Claims Discharged
 Claimants:                       $0.00               Without Payment:     NA

 Total Expenses of
 Administration:                  $864,021.11


        3)      Total gross receipts of $864,021.11 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $864,021.11 from the
liquidation of the property of the estate, which was distributed as follows:




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                                   CLAIMS           CLAIMS             CLAIMS               CLAIMS
                                 SCHEDULED         ASSERTED           ALLOWED                PAID
  Secured Claims
  (from Exhibit 3)                $9,060,287.91            $0.00               $0.00               $0.00
  Priority Claims:
      Chapter 7
      Admin. Fees and                      NA       $1,435,212.27       $368,929.27         $622,537.95
      Charges
       (from Exhibit 4)
      Prior Chapter
      Admin. Fees and                      NA       $1,193,103.90      $1,065,608.40        $241,483.16
      Charges (from
      Exhibit 5)
      Priority
      Unsecured                          $0.00        $68,069.85               $0.00               $0.00
      Claims
      (From Exhibit 6)
  General Unsecured
  Claims (from                    $4,013,051.83    $12,205,900.20    $12,205,900.20                $0.00
  Exhibit 7)
           Total
     Disbursements               $13,073,339.74    $14,902,286.22    $13,640,437.87         $864,021.11

       4). This case was originally filed under chapter 0 on 08/31/2015. The case was converted
  to one under Chapter 7 on 01/21/2016. The case was pending for 57 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 10/05/2020                               By: /s/ Randall L. Woodruff
                                                         /Ra Trustee
                                                         nda
                                                         ll L.
                                                         Wo
                                                         odr
                                                         uff
  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.



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                                                    EXHIBITS TO
                                                   FINAL ACCOUNT

  EXHIBIT 1 – GROSS RECEIPTS

                           DESCRIPTION                                     UNIFORM                          AMOUNT
                                                                          TRAN. CODE                       RECEIVED
 unused workers compensation plan premium                                    1229-000                       $17,171.00
 avoidance actions vs any "non-insider" as defined in 11 U.S.C.              1241-000                      $753,468.08
 101(31)(B)
 causes of action against any "insiders" of debtor as defined in 11          1241-000                       $50,000.00
 U.S.C. 101(31)(B)
 health insurance premium refund                                             1249-000                       $14,552.03
 vehicle sale proceeds                                                       1290-010                       $28,830.00
 TOTAL GROSS RECEIPTS                                                                                      $864,021.11

  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

  EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
  NONE


  EXHIBIT 3 – SECURED CLAIMS

  CLAIM          CLAIMANT            UNIFORM               CLAIMS               CLAIMS   CLAIMS              CLAIMS
 NUMBER                             TRAN. CODE          SCHEDULED             ASSERTED ALLOWED                 PAID
               Wells Fargo             4110-000          $9,060,287.91                $0.00        $0.00           $0.00
               Bank, National
 TOTAL SECURED CLAIMS                                    $9,060,287.91                $0.00        $0.00           $0.00


  EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

        PAYEE                UNIFORM               CLAIMS               CLAIMS            CLAIMS             CLAIMS
                            TRAN. CODE          SCHEDULED             ASSERTED          ALLOWED                PAID
 Randall L. Woodruff,         2100-000                      NA           $46,451.06      $46,451.06         $46,451.06
 Trustee, Trustee
 Randall L. Woodruff,         2200-000                      NA            $1,246.71       $1,246.71          $1,246.71
 Trustee
 International Sureties,      2300-000                      NA             $535.91            $535.91         $535.91
 Ltd.
 Bank of Texas                2600-000                      NA            $2,860.73       $2,860.73          $2,860.73
 Pinnacle Bank                2600-000                      NA            $7,281.47       $7,281.47          $7,281.47
 Case # 16-50376              2700-000                      NA             $350.00            $350.00         $350.00
 Case #16-50377               2700-000                      NA             $350.00            $350.00         $350.00
 Case #16-50378               2700-000                      NA             $350.00            $350.00         $350.00
 Case #16-50379               2700-000                      NA             $350.00            $350.00         $350.00
 Case #16-50380               2700-000                      NA             $350.00            $350.00         $350.00
 Case #16-50381               2700-000                      NA             $350.00            $350.00         $350.00
 Case #16-50382               2700-000                      NA             $350.00            $350.00         $350.00

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 Case #16-50383              2700-000             NA          $350.00      $350.00       $350.00
 Case #16-50386              2700-000             NA          $350.00      $350.00       $350.00
 Case #16-50387              2700-000             NA          $350.00      $350.00       $350.00
 Case #16-50388              2700-000             NA          $350.00      $350.00       $350.00
 Case #16-50389              2700-000             NA          $350.00      $350.00       $350.00
 Case #16-50390              2700-000             NA          $350.00      $350.00       $350.00
 Case #16-50391              2700-000             NA          $350.00      $350.00       $350.00
 Case #16-50392              2700-000             NA          $350.00      $350.00       $350.00
 Case #16-50393              2700-000             NA          $350.00      $350.00       $350.00
 Case #16-50394              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50006              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50007              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50008              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50009              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50010              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50011              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50018              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50019              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50020              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50021              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50022              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50023              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50024              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50025              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50026              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50027              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50028              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50029              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50030              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50031              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50034              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50035              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50036              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50037              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50038              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50039              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50040              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50041              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50042              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50043              2700-000             NA          $350.00      $350.00       $350.00
 Case #17-50118              2700-000             NA          $350.00      $350.00       $350.00
 U.S. Trustee                2950-000             NA        $13,325.00   $13,325.00    $13,325.00

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 Wells Fargo                 2990-800             NA        $1,066,283.00         $0.00   $253,608.68
 Bose McKinney &             3210-000             NA           $1,640.50      $1,640.50     $1,640.50
 Evans, LLP, Attorney
 for Trustee
 Ice Miller LLP,             3210-000             NA          $24,910.00     $24,910.00    $24,910.00
 Attorney for Trustee
 Mattingly Burke             3210-000             NA          $20,482.00     $20,482.00    $20,482.00
 Cohen & Biederman
 LLP, Attorney for
 Trustee
 Mattingly Burke             3210-000             NA          $10,915.00     $10,915.00    $10,915.00
 Cohen & Biederman,
 LLP, Attorney for
 Trustee
 Bose McKinney &             3210-600             NA          $18,040.98     $18,040.98    $18,040.98
 Evans LLP, Special
 Counsel for Trustee
 Fox Rothschild, LLP,        3210-600             NA          $54,575.55     $54,575.55    $54,575.55
 Special Counsel for
 Trustee
 Ice Miller LLP,             3210-600             NA         $107,622.28    $107,622.28   $107,622.28
 Special Counsel for
 Trustee
 Mattingly Burke             3220-000             NA           $3,297.70      $3,297.70     $3,297.70
 Cohen & Biederman
 LLP, Attorney for
 Trustee
 Mattingly Burke             3220-000             NA              $85.91        $85.91        $85.91
 Cohen & Biederman,
 LLP, Attorney for
 Trustee
 Bose McKinney &             3220-610             NA             $900.60       $900.60       $900.60
 Evans, LLP, Special
 Counsel for Trustee
 Fox Rothschild, LLP,        3220-610             NA          $12,297.30     $12,297.30    $12,297.30
 Special Counsel for
 Trustee
 Ice Miller LLP,             3220-610             NA          $11,604.17     $11,604.17    $11,604.17
 Special Counsel for
 Trustee
 Marietta Financial          3410-000             NA           $3,425.90      $3,425.90     $3,425.90
 Services, Accountant
 for Trustee
 Marietta Financial          3410-000             NA          $10,255.20     $10,255.20    $10,255.20
 Services, Inc.,
 Accountant for
 Trustee
 Marietta Financial          3420-000             NA             $375.30       $375.30       $375.30
 Services, Inc.,
 Accountant for
 Trustee
 TOTAL CHAPTER 7 ADMIN. FEES AND                  NA        $1,435,212.27   $368,929.27   $622,537.95

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 CHARGES


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

         PAYEE                UNIFORM              CLAIMS   CLAIMS           CLAIMS         CLAIMS
                             TRAN. CODE         SCHEDULED ASSERTED         ALLOWED            PAID
 Fox Rothschild LLP,             6700-000               NA    $48,761.63    $48,761.63    $11,041.28
 Other Professional
 Calderone Advisory              6990-000               NA    $49,058.80    $49,058.80    $11,108.57
 Group, Other Prior
 Chapter
 Administrative
 Ice Miller LLP, Other           6990-000               NA    $16,260.11    $16,260.11     $3,681.84
 Prior Chapter
 Administrative
 Kroger, Gardis &                6990-000               NA    $47,214.06    $47,214.06    $10,690.86
 Regas, LLP, Other
 Prior Chapter
 Administrative
 Nahum Enterprises,              6990-000               NA    $54,984.60         $0.00         $0.00
 LLC
 Olympic Steel Inc.,             6990-000               NA    $12,102.13    $12,102.13     $2,740.33
 Other Prior Chapter
 Administrative
 SAS, LLP                        6990-000               NA    $72,510.90         $0.00         $0.00
 UpShot Services LLC,            6990-000               NA      $250.00       $250.00       $250.00
 Other Prior Chapter
 Administrative
 UpShot Services,                6990-000               NA     $6,676.48     $6,676.48     $1,511.78
 LLC, Other Prior
 Chapter
 Administrative
 Viking Materials, Inc.,         6990-000               NA    $15,250.84    $15,250.84     $3,453.31
 Other Prior Chapter
 Administrative
 Wells Fargo Bank,               6990-000               NA $853,388.35     $853,388.35   $193,235.97
 National Association,
 Other Prior Chapter
 Administrative
 West Walker Steel               6990-000               NA    $16,646.00    $16,646.00     $3,769.22
 Company, Other Prior
 Chapter
 Administrative
 TOTAL PRIOR CHAPTER ADMIN. FEES                        NA $1,193,103. $1,065,608.40     $241,483.16
 AND CHARGES                                                       90


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


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  CLAIM         CLAIMANT             UNIFORM          CLAIMS          CLAIMS        CLAIMS        CLAIMS
 NUMBER                             TRAN. CODE     SCHEDULED        ASSERTED      ALLOWED           PAID
     12       Internal Revenue        5800-000            $0.00       $9,639.91         $0.00        $0.00
              Service
    12A       Internal Revenue        5800-000            $0.00       $3,429.94         $0.00        $0.00
              Service
     84       Z&S Sharp Real          5800-000            $0.00      $55,000.00         $0.00        $0.00
              Estate, Inc.
 TOTAL PRIORITY UNSECURED CLAIMS                          $0.00      $68,069.85         $0.00        $0.00


 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

  CLAIM         CLAIMANT             UNIFORM        CLAIMS          CLAIMS          CLAIMS        CLAIMS
 NUMBER                             TRAN. CODE   SCHEDULED        ASSERTED        ALLOWED           PAID
     1        Premium Steel           7100-000      $49,992.25     $50,857.55      $50,857.55        $0.00
              Sales
     2        Surplus Metals          7100-000      $67,551.04     $81,932.45      $81,932.45        $0.00
              Corporation
     3        Total Quality           7100-000       $2,600.00      $2,600.00       $2,600.00        $0.00
              Logistics
     4        Motion Industries       7100-000      $51,382.40     $51,413.21      $51,413.21        $0.00
     5        Alto Steel Co.,         7100-000      $31,343.19     $31,343.19      $31,343.19        $0.00
              Inc.
     6        Commerce Steel          7100-000      $55,467.98     $55,467.98      $55,467.98        $0.00
              Corp.
     7        Industrial Steel &      7100-000       $7,482.48      $7,482.48       $7,482.48        $0.00
              Fastener Corp.
     8        MSC Industrial          7100-000       $1,028.63      $1,028.63       $1,028.63        $0.00
              Supply
     9        Allied Steel            7100-000      $39,994.90     $39,994.90      $39,994.90        $0.00
              Industries, LP
     10       ArcelorMittal           7100-000      $81,551.60     $94,170.86      $94,170.86        $0.00
              USA
     11       Greenpoint              7100-000       $9,702.00      $9,702.00       $9,702.00        $0.00
              Metals
    12a       Internal Revenue        7100-000           $0.00     $20,098.15      $20,098.15        $0.00
              Service
    12b       Internal Revenue        7100-000           $0.00     $12,809.85      $12,809.85        $0.00
              Service
     13       Taylor Steel Inc        7100-000      $23,429.30     $23,429.30      $23,429.30        $0.00
     14       Total Quality           7100-000           $0.00      $2,600.00       $2,600.00        $0.00
              Logistics
     15       Taylor Steel Inc.       7100-000      $27,895.07     $27,895.07      $27,895.07        $0.00
     16       Nolan                   7100-000       $1,500.00      $1,500.00       $1,500.00        $0.00
              Transportation
              Group, Inc
     17       Grand Steel             7100-000       $7,798.47      $7,798.47       $7,798.47        $0.00
              Products, Inc.


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     18       Target Steel, Inc.      7100-000     $188,743.05    $205,386.61   $205,386.61        $0.00
     19       Anchor Steel,           7100-000     $155,021.49    $155,021.49   $155,021.49        $0.00
              LLC
     20       Anchor Steel,           7100-000       $9,807.46     $30,509.49    $30,509.49        $0.00
              LLC
     21       Premier Steel           7100-000           $0.00      $9,807.46     $9,807.46        $0.00
              LLC
     22       R&L Carriers            7100-000        $705.39       $9,360.66     $9,360.66        $0.00
     23       Universal Steel         7100-000      $25,174.30     $25,174.30    $25,174.30        $0.00
              Company
     24       Pioneer Steel           7100-000      $16,695.01     $16,695.01    $16,695.01        $0.00
              Limited
     25       Pacific Steel           7100-000      $79,369.14     $82,308.15    $82,308.15        $0.00
     26       KLB Steel LLC           7100-000       $3,162.00      $3,162.00     $3,162.00        $0.00
     27       Delaware Steel of       7100-000      $96,227.82    $102,390.93   $102,390.93        $0.00
              Pennsylvania
              LLC
     28       Colorado Metals,        7100-000      $22,207.60     $22,207.60    $22,207.60        $0.00
              LLC
     29       McMaster-Carr           7100-000        $771.85        $771.85       $771.85         $0.00
     30       Mainline Metals         7100-000      $49,135.19     $30,509.49    $30,509.49        $0.00
              Inc.
     31       Con-Way Freight         7100-000        $403.80        $607.13       $607.13         $0.00
    32a       Viking Materials,       7100-000        $137.00       $5,564.16     $5,564.16        $0.00
              Inc.
     33       SPEEDWAY                7100-000           $0.00      $2,012.41     $2,012.41        $0.00
              LLC
     34       Vectren Energy          7100-000        $818.61        $218.29       $218.29         $0.00
              Delivery
     35       Vectren Energy          7100-000           $0.00       $239.70       $239.70         $0.00
              Delivery
     36       BCC Steel, Inc          7100-000      $18,218.20     $18,218.20    $18,218.20        $0.00
     37       Ace Steel LLC           7100-000      $39,467.90     $41,562.86    $41,562.86        $0.00
    38a       Olympic Steel           7100-000      $56,200.45     $54,660.52    $54,660.52        $0.00
              Inc.
     39       XSCP a division         7100-000      $10,238.09     $10,238.09    $10,238.09        $0.00
              of Friedman
              Industries,
              Incorporat
     40       Euler Hermes            7100-000           $0.00     $15,466.85    $15,466.85        $0.00
              North America
              Ins Co
     41       First National          7100-000        $320.99        $765.93       $765.93         $0.00
              Bank of Omaha
     42       First National          7100-000           $0.00          $5.25         $5.25        $0.00
              Bank of Omaha
     43       Euler Hermes            7100-000           $0.00     $51,699.82    $51,699.82        $0.00
              North America
              Ins Co

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     44       Samuel Trading, a      7100-000       $6,400.00      $6,400.00     $6,400.00        $0.00
              division Samuel,
              Son &#038; Co.
     45       Doral Steel, a         7100-000      $44,583.35     $44,583.35    $44,583.35        $0.00
              division of
              Samuel, Son
              &#038; Co.
     46       Summit Metals of       7100-000      $20,003.24     $21,049.42    $21,049.42        $0.00
              Alabama
     47       Landstar Ranger        7100-000      $12,900.00     $18,100.00    $18,100.00        $0.00
     48       Fisher Scientific      7100-000        $445.77        $445.77       $445.77         $0.00
     49       Transcend Inc.         7100-000      $30,360.00     $30,360.00    $30,360.00        $0.00
     50       Xpo Logistics          7100-000        $900.00       $1,100.00     $1,100.00        $0.00
     51       New Farmers            7100-000           $0.00       $900.00       $900.00         $0.00
              Transportation
     52       Saturn Freight         7100-000      $14,650.00     $15,250.00    $15,250.00        $0.00
              Systems Inc
     53       King City Steel        7100-000           $0.00     $36,796.92    $36,796.92        $0.00
     54       P.I.P.E. Inc.          7100-000        $737.57        $818.59       $818.59         $0.00
     55       Ergonomic              7100-000           $0.00      $3,370.30     $3,370.30        $0.00
              Consultants of
              Indiana, Inc.
     56       Allied Equipment       7100-000       $3,314.88      $4,179.01     $4,179.01        $0.00
              Service Corp.
     57       National Material      7100-000       $1,449.50      $1,449.50     $1,449.50        $0.00
              Co
     58       Network FOB Inc        7100-000        $800.00        $840.00       $840.00         $0.00
     59       Tennessee Steel        7100-000       $1,550.00      $2,350.00     $2,350.00        $0.00
              Haulers, Inc.
     60       Suburban Propane       7100-000      $21,022.66     $33,256.25    $33,256.25        $0.00
     61       Triamerica Steel       7100-000      $30,976.50     $30,976.50    $30,976.50        $0.00
              Resources LLC
     63       Allegheny Steel        7100-000      $18,560.60     $18,560.60    $18,560.60        $0.00
              Dist., Inc.
    64a       West Walker            7100-000     $232,118.26    $215,472.26   $215,472.26        $0.00
              Steel Company
     65       Glen L. Sharp          7100-000      $79,571.60     $88,802.00    $88,802.00        $0.00
     66       Barry Sharp            7100-000     $247,961.26    $249,677.23   $249,677.23        $0.00
     67       M J Miller             7100-000       $5,600.00      $8,066.25     $8,066.25        $0.00
              Trucking Co
     68       Steel                  7100-000     $134,936.78    $141,432.43   $141,432.43        $0.00
              Technologies
              LLC
     69       Lawler Trucking        7100-000       $5,800.00      $5,800.00     $5,800.00        $0.00
              Inc
     73       Red D Freight Inc      7200-000       $3,150.00      $7,800.00     $7,800.00        $0.00
     74       Travelers              7200-000           $0.00          $1.00         $1.00        $0.00
              Indemnity

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               Company
      75       Taurus Tool &          7200-000        $4,814.00     $8,610.00      $8,610.00          $0.00
               Engineering Inc
      77       Cargill                7200-000       $10,317.68    $38,002.12     $38,002.12          $0.00
               Incorporated
      78       United States          7100-000       $65,340.95    $44,226.70     $44,226.70          $0.00
               Steel Corporation
      79       Nucor Castrip          7100-000            $0.00    $67,992.42     $67,992.42          $0.00
               Arkansas
      80       Triamerica Steel       7100-000            $0.00    $39,057.77     $39,057.77          $0.00
               Resources LLC
      81       The Worthington        7100-000       $33,521.77    $15,000.00     $15,000.00          $0.00
               Steel Company
     82A       Wildeck, Inc.          7200-000            $0.00     $3,887.42      $3,887.42          $0.00
      83       UpShot Services        7200-000            $0.00     $6,676.48      $6,676.48          $0.00
               LLC
      87       PLS Freight            7100-000        $3,400.00     $4,900.00      $4,900.00          $0.00
               Solutions
      88       C.H. Robinson          7100-000        $3,900.00     $3,900.00      $3,900.00          $0.00
               Worldwide Inc.
      89       Wells Fargo            7100-000            $0.00 $9,074,004.86   $9,074,004.86         $0.00
               Bank, National
               Association
      90       Coilplus Ohio          7100-000        $2,625.70     $2,625.70      $2,625.70          $0.00
               Division of
               Coilplus, Inc
      91       Triamerica Steel       7100-000            $0.00    $30,976.50     $30,976.50          $0.00
               Resources LLC
      92       West Walker            7100-000            $0.00   $232,118.26    $232,118.26          $0.00
               Steel Company
      93       EFreightship,          7100-000        $9,850.00    $11,350.00     $11,350.00          $0.00
               LLC
      94       Mill Steel             7100-000      $114,769.14    $77,036.34     $77,036.34          $0.00
               Company
      95       Paragon Steel          7100-000       $38,241.80    $38,241.80     $38,241.80          $0.00
               Enterprises, LLC
      96       FedEx Tech             7100-000       $13,325.39    $11,922.66     $11,922.66          $0.00
               Connect, Inc.
      97       Modular Steel          7100-000        $4,350.00     $6,150.00      $6,150.00          $0.00
               Storage, LLC
      98       Steel Plus             7100-000            $0.00    $82,787.93     $82,787.93          $0.00
               Solutions
      99       Burris Computer        7100-000        $1,907.52     $1,907.52      $1,907.52          $0.00
               Forms
               5K Express             7100-000        $5,650.00         $0.00          $0.00          $0.00
               Accurate Cutting       7100-000        $1,330.55         $0.00          $0.00          $0.00
               Technologies
               Alliance Steel         7100-000       $37,692.45         $0.00          $0.00          $0.00
               LLC

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               Alro Steel Corp        7100-000        $1,521.17      $0.00      $0.00         $0.00
               American Wire          7100-000         $504.92       $0.00      $0.00         $0.00
               Rope and Sling
               Ameristeel, Inc.       7100-000        $3,988.95      $0.00      $0.00         $0.00
               Anderson City          7100-000       $27,346.94      $0.00      $0.00         $0.00
               Utilities
               Ari Logistics,         7100-000       $15,250.00      $0.00      $0.00         $0.00
               LLC
               Asbury Trucking        7100-000        $1,200.00      $0.00      $0.00         $0.00
               Ashley Logistics       7100-000       $13,650.00      $0.00      $0.00         $0.00
               Inc.
               Ashley Transport,      7100-000        $2,200.00      $0.00      $0.00         $0.00
               Inc.
               Associated Steel       7100-000        $1,030.26      $0.00      $0.00         $0.00
               Trading LLC
               AT&T                   7100-000        $2,516.80      $0.00      $0.00         $0.00
               Aurora Metals          7100-000       $13,786.35      $0.00      $0.00         $0.00
               Automotive West        7100-000         $110.25       $0.00      $0.00         $0.00
               Inc.
               AWL Transport,         7100-000        $1,200.00      $0.00      $0.00         $0.00
               Inc.
               Barnes                 7100-000        $1,135.50      $0.00      $0.00         $0.00
               Thornburg, LLP
               Baxter Pest            7100-000         $130.00       $0.00      $0.00         $0.00
               Professionals
               Berg Steel Corp        7100-000        $3,240.75      $0.00      $0.00         $0.00
               Best Way               7100-000        $1,022.32      $0.00      $0.00         $0.00
               Disposal
               BGS Air                7100-000         $720.00       $0.00      $0.00         $0.00
               BKG Freight            7100-000        $3,800.00      $0.00      $0.00         $0.00
               Services, Inc.
               Block Steel            7100-000        $3,809.80      $0.00      $0.00         $0.00
               Corporation
               Blue Fin Steel         7100-000      $112,286.04      $0.00      $0.00         $0.00
               Corp.
               Bowden Auto            7100-000          $73.00       $0.00      $0.00         $0.00
               Service
               Boyd Bros.             7100-000        $3,000.00      $0.00      $0.00         $0.00
               Transportation,
               Inc.
               Broadway Press         7100-000          $42.80       $0.00      $0.00         $0.00
               Buckeye Metals         7100-000        $4,367.84      $0.00      $0.00         $0.00
               Industries
               Cassidy C Fritz        7100-000         $871.95       $0.00      $0.00         $0.00
               Champion               7100-000         $730.00       $0.00      $0.00         $0.00
               Hydraulics, Inc.
               Chicago Steel          7100-000          $69.09       $0.00      $0.00         $0.00
               (IN), LLC

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               Cincinnati Inc         7100-000        $2,277.63      $0.00      $0.00         $0.00
               Circle W               7100-000        $1,200.00      $0.00      $0.00         $0.00
               Trucking Inc
               CJM Financial          7100-000        $1,300.00      $0.00      $0.00         $0.00
               Inc
               CMI Logistics          7100-000        $4,302.00      $0.00      $0.00         $0.00
               LLC
               Coilplus-North         7100-000       $22,214.84      $0.00      $0.00         $0.00
               Carolina, Inc.
               Comcast                7100-000        $1,008.16      $0.00      $0.00         $0.00
               Concord Trading        7100-000        $4,089.62      $0.00      $0.00         $0.00
               Continental Inc        7100-000       $11,653.39      $0.00      $0.00         $0.00
               Countrywide            7100-000        $5,600.00      $0.00      $0.00         $0.00
               Transportation
               Inc
               Crystal Springs        7100-000         $600.00       $0.00      $0.00         $0.00
               Trucking, Inc.
               CSS Sales LLC          7100-000        $3,486.00      $0.00      $0.00         $0.00
               Cumberland             7100-000         $850.00       $0.00      $0.00         $0.00
               Valley Express
               LLC
               David Voigt            7100-000        $1,100.00      $0.00      $0.00         $0.00
               Trucking Inc
               Davis Brothers         7100-000         $700.00       $0.00      $0.00         $0.00
               Inc
               Davis Buildings        7100-000          $67.16       $0.00      $0.00         $0.00
               Inc.
               Delta                  7100-000        $1,200.00      $0.00      $0.00         $0.00
               Transportation,
               Inc.
               Detroit Steel          7100-000         $209.09       $0.00      $0.00         $0.00
               Processing Inc
               Direct Connect         7100-000        $1,200.00      $0.00      $0.00         $0.00
               Logistix
               Eagle Steel Corp       7100-000        $8,644.13      $0.00      $0.00         $0.00
               Eastern Express,       7100-000         $450.00       $0.00      $0.00         $0.00
               Inc.
               Echo Global            7100-000        $2,300.00      $0.00      $0.00         $0.00
               Logistics
               Element Materials      7100-000         $263.20       $0.00      $0.00         $0.00
               Technology
               Esmark Steel           7100-000       $10,748.11      $0.00      $0.00         $0.00
               Group-Midwest
               LLC
               Express Transport      7100-000        $2,200.00      $0.00      $0.00         $0.00
               Farwick Scale Co       7100-000        $1,316.25      $0.00      $0.00         $0.00
               Fastenal               7100-000         $925.15       $0.00      $0.00         $0.00
               Company


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               FedEx                   7100-000         $364.55       $0.00      $0.00         $0.00
               FedEx Freight Inc       7100-000        $1,016.90      $0.00      $0.00         $0.00
               Fraley &                7100-000        $2,738.72      $0.00      $0.00         $0.00
               Schilling Inc
               Freight                 7100-000       $10,450.00      $0.00      $0.00         $0.00
               Management, Inc.
               Frontier Airlines       7100-000       $25,384.19      $0.00      $0.00         $0.00
               Gerber Metal            7100-000        $1,199.88      $0.00      $0.00         $0.00
               Supply Co.
               Global Tranz            7100-000        $1,785.00      $0.00      $0.00         $0.00
               Enterprises, Inc
               H&H                     7100-000         $253.80       $0.00      $0.00         $0.00
               Commercial Heat
               H&H                     7100-000         $133.75       $0.00      $0.00         $0.00
               Rebuilding
               Company
               Harvard Steel           7100-000        $4,933.50      $0.00      $0.00         $0.00
               Sales, LLC
               Hascall Steel           7100-000       $11,847.74      $0.00      $0.00         $0.00
               Company
               Heidtman Steel          7100-000       $14,249.50      $0.00      $0.00         $0.00
               Products Inc
               Henderson Inc           7100-000       $13,225.00      $0.00      $0.00         $0.00
               HR Direct               7100-000         $156.40       $0.00      $0.00         $0.00
               I M Steel               7100-000        $7,275.45      $0.00      $0.00         $0.00
               I.C.C.I.                7100-000        $5,700.00      $0.00      $0.00         $0.00
               I/N Kote                7100-000       $12,619.26      $0.00      $0.00         $0.00
               Impact Steel Inc.       7100-000      $133,632.90      $0.00      $0.00         $0.00
               Indiana Media           7100-000        $2,629.00      $0.00      $0.00         $0.00
               Group
               Indiana Wiping          7100-000        $1,431.66      $0.00      $0.00         $0.00
               Cloth Inc
               Innovative Steel        7100-000       $12,049.80      $0.00      $0.00         $0.00
               Group Inc
               Insight                 7100-000        $1,971.00      $0.00      $0.00         $0.00
               Worldwide Inc.
               Integrity Express       7100-000         $625.00       $0.00      $0.00         $0.00
               Logistics
               J & E Tire Center,      7100-000        $1,392.61      $0.00      $0.00         $0.00
               Inc
               J & F Distributing      7100-000         $190.23       $0.00      $0.00         $0.00
               Co., Inc.
               J D Factors LLC         7100-000        $4,800.00      $0.00      $0.00         $0.00
               J P Transportation      7100-000         $750.00       $0.00      $0.00         $0.00
               Co., Inc.
               J.W. Trucking           7100-000       $15,650.00      $0.00      $0.00         $0.00
               Jade Metals Copr        7100-000       $38,651.17      $0.00      $0.00         $0.00

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               JDM Freight            7100-000        $1,600.00      $0.00      $0.00         $0.00
               Brokers LLC
               Jericho Steel          7100-000        $5,717.63      $0.00      $0.00         $0.00
               Sales Corp
               Jerry Tools, Inc       7100-000         $418.65       $0.00      $0.00         $0.00
               JM Steel Corp.         7100-000        $7,810.60      $0.00      $0.00         $0.00
               JRC                    7100-000        $3,450.00      $0.00      $0.00         $0.00
               Transportation,
               Inc
               JTSC                   7100-000          $75.00       $0.00      $0.00         $0.00
               K & M Transport        7100-000       $12,300.00      $0.00      $0.00         $0.00
               LLC
               Kirby Risk             7100-000         $448.73       $0.00      $0.00         $0.00
               Electrical Supply
               Lead Dog               7100-000       $93,800.00      $0.00      $0.00         $0.00
               Transport LLC
               Lee Steel Corp.        7100-000       $83,279.81      $0.00      $0.00         $0.00
               Lew Thornburg          7100-000       $19,100.00      $0.00      $0.00         $0.00
               Lindsay Farms          7100-000        $1,400.00      $0.00      $0.00         $0.00
               LLC
               Loeffel Steel          7100-000       $10,772.12      $0.00      $0.00         $0.00
               Products
               Loggins                7100-000        $3,100.00      $0.00      $0.00         $0.00
               Logistics, Inc
               Logistics              7100-000        $1,300.00      $0.00      $0.00         $0.00
               Dynamics Inc
               Lowe's Home            7100-000         $655.79       $0.00      $0.00         $0.00
               Centers, Inc
               M & A Transport,       7100-000        $5,600.00      $0.00      $0.00         $0.00
               Inc
               Magic                  7100-000        $7,450.00      $0.00      $0.00         $0.00
               Transportation
               Main Steel, LLC.       7100-000        $2,865.50      $0.00      $0.00         $0.00
               Manufacturers          7100-000       $15,466.85      $0.00      $0.00         $0.00
               Metals
               McConnell              7100-000        $2,513.43      $0.00      $0.00         $0.00
               Plumbing
               MCI                    7100-000         $100.30       $0.00      $0.00         $0.00
               Medford Metals,        7100-000       $29,605.97      $0.00      $0.00         $0.00
               LLC
               Miami Valley           7100-000       $14,628.79      $0.00      $0.00         $0.00
               Steel
               Micro Air Inc          7100-000        $2,570.00      $0.00      $0.00         $0.00
               Miller Huggins         7100-000         $228.10       $0.00      $0.00         $0.00
               Inc
               Modern Data            7100-000         $972.13       $0.00      $0.00         $0.00
               Productions Inc.
               Modern MFG Co          7100-000        $1,846.75      $0.00      $0.00         $0.00

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               Inc
               MoFab                   7100-000         $213.26       $0.00      $0.00         $0.00
               Morales Group           7100-000        $7,786.79      $0.00      $0.00         $0.00
               Inc
               Municipal Light         7100-000         $640.00       $0.00      $0.00         $0.00
               and Power
               National Metals         7100-000       $34,235.70      $0.00      $0.00         $0.00
               Inc.
               National Service        7100-000        $1,300.00      $0.00      $0.00         $0.00
               Transport LLC
               Nelson Trucking         7100-000        $2,650.00      $0.00      $0.00         $0.00
               Logistics
               Norrick                 7100-000        $1,420.99      $0.00      $0.00         $0.00
               Petroleum
               Products Inc
               North Shore             7100-000        $3,060.76      $0.00      $0.00         $0.00
               Metals Inc
               Ohio Transport          7100-000        $2,200.00      $0.00      $0.00         $0.00
               Corp
               Ohio-Kentucky           7100-000        $1,901.62      $0.00      $0.00         $0.00
               Steel Corp
               Olympic Products        7100-000        $4,092.61      $0.00      $0.00         $0.00
               Olympic Steel           7100-000        $5,026.50      $0.00      $0.00         $0.00
               Detroit
               Olympic Steel           7100-000        $5,802.82      $0.00      $0.00         $0.00
               Inc-Central
               OneSource Water         7100-000         $517.72       $0.00      $0.00         $0.00
               Ostler Enterprises      7100-000         $750.00       $0.00      $0.00         $0.00
               Inc
               Pacesetter Steel        7100-000        $5,204.61      $0.00      $0.00         $0.00
               Packaging               7100-000       $42,331.41      $0.00      $0.00         $0.00
               Systems of IN
               Packard Logistics       7100-000        $1,100.00      $0.00      $0.00         $0.00
               Inc
               Partner                 7100-000        $1,125.00      $0.00      $0.00         $0.00
               Engineering &
               Science
               Praxair                 7100-000        $5,935.11      $0.00      $0.00         $0.00
               Distribution Inc
               Precision               7100-000         $630.00       $0.00      $0.00         $0.00
               Metalworks &
               Mech.
               Precision Strip,        7100-000         $729.38       $0.00      $0.00         $0.00
               Inc
               Proam Logistics,        7100-000        $3,150.00      $0.00      $0.00         $0.00
               LLC
               Procon Metals Inc       7100-000        $4,617.00      $0.00      $0.00         $0.00
               R Norris                7100-000         $250.00       $0.00      $0.00         $0.00
               Company, Inc

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               R+L Truckload           7100-000        $1,422.15      $0.00      $0.00         $0.00
               Services LLC
               Ratner Steel            7100-000       $33,447.65      $0.00      $0.00         $0.00
               Supply Co., Inc
               Reber Machine &         7100-000         $700.00       $0.00      $0.00         $0.00
               Tool Co
               Ridge Napa              7100-000          $42.32       $0.00      $0.00         $0.00
               Riverview Steel         7100-000       $13,785.85      $0.00      $0.00         $0.00
               Co Ltd
               Royal Metal             7100-000        $6,605.00      $0.00      $0.00         $0.00
               Industries, Inc.
               Samuel, Son &           7100-000        $6,592.63      $0.00      $0.00         $0.00
               Co., Limited
               Scott Odom              7100-000         $665.00       $0.00      $0.00         $0.00
               Heating & Air
               Service Crane Co        7100-000        $2,947.90      $0.00      $0.00         $0.00
               SevenOaks               7100-000        $1,800.00      $0.00      $0.00         $0.00
               Capital
               Associates, LLC
               Shelby Air              7100-000       $17,272.50      $0.00      $0.00         $0.00
               Sherwin Williams        7100-000         $317.04       $0.00      $0.00         $0.00
               Sonitrol Security       7100-000         $141.50       $0.00      $0.00         $0.00
               System
               Southeast               7100-000        $2,250.00      $0.00      $0.00         $0.00
               Logistics
               Sparks                  7100-000        $2,425.57      $0.00      $0.00         $0.00
               Commercial Tires
               Inc
               St Freight, LLC         7100-000        $7,190.00      $0.00      $0.00         $0.00
               St. Vincent             7100-000         $955.00       $0.00      $0.00         $0.00
               Medical Group,
               Inc
               Standard                7100-000        $1,187.50      $0.00      $0.00         $0.00
               Insurance
               Company
               Staples Business        7100-000         $466.76       $0.00      $0.00         $0.00
               Advantage
               State Gear Div. of      7100-000        $4,300.00      $0.00      $0.00         $0.00
               Precision
               State Line Steel,       7100-000       $11,318.08      $0.00      $0.00         $0.00
               LLC
               Steel                   7100-000        $5,418.45      $0.00      $0.00         $0.00
               Technologies-
               Canada
               Steel Warehouse         7100-000        $8,767.25      $0.00      $0.00         $0.00
               Co #774005
               Steelmax Corp           7100-000        $8,718.15      $0.00      $0.00         $0.00
               Stoops                  7100-000         $642.03       $0.00      $0.00         $0.00
               Freightliner-

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               Quality Trail
               Sun States Steel        7100-000       $15,542.39      $0.00      $0.00         $0.00
               Corp.
               Sunbelt Finance         7100-000       $10,800.00      $0.00      $0.00         $0.00
               LLC
               Sunteck Transport       7100-000          $61.79       $0.00      $0.00         $0.00
               Co Inc
               Superior Steel          7100-000       $34,744.03      $0.00      $0.00         $0.00
               Supply Inc
               Sureway                 7100-000        $3,600.00      $0.00      $0.00         $0.00
               Transportation
               Co.
               Tarter Gate Wood        7100-000       $29,022.40      $0.00      $0.00         $0.00
               Products, LLC
               Thunder Funding         7100-000         $600.00       $0.00      $0.00         $0.00
               Thyssenkrupp            7100-000        $6,681.32      $0.00      $0.00         $0.00
               Materials NA
               Thyssenkrupp            7100-000        $9,019.16      $0.00      $0.00         $0.00
               Materials NA
               Torch Steel             7100-000         $371.16       $0.00      $0.00         $0.00
               Processing
               Transfreight            7100-000        $6,900.00      $0.00      $0.00         $0.00
               Trucking
               Transportation          7100-000        $4,650.00      $0.00      $0.00         $0.00
               Express
               Triad Metals Int'l      7100-000        $6,273.43      $0.00      $0.00         $0.00
               Tru-Cut                 7100-000         $853.62       $0.00      $0.00         $0.00
               Unifirst                7100-000       $19,652.23      $0.00      $0.00         $0.00
               United                  7100-000         $460.00       $0.00      $0.00         $0.00
               Calibration Corpo
               Universal Metals        7100-000        $3,375.00      $0.00      $0.00         $0.00
               LLC
               Universal               7100-000        $4,350.00      $0.00      $0.00         $0.00
               Truckload Inc.
               US Logistics LLC        7100-000        $2,600.00      $0.00      $0.00         $0.00
               Venture Steel Inc       7100-000       $24,282.34      $0.00      $0.00         $0.00
               Viking Materials,       7100-000       $20,626.84      $0.00      $0.00         $0.00
               Inc.
               Voss Equipment          7100-000         $463.30       $0.00      $0.00         $0.00
               Inc
               Walter Kalisz           7100-000          $50.00       $0.00      $0.00         $0.00
               Warner Supply,          7100-000         $868.15       $0.00      $0.00         $0.00
               LLC
               Wellington Steel        7100-000       $19,931.76      $0.00      $0.00         $0.00
               Supply Inc
               Westcoast               7100-000         $845.71       $0.00      $0.00         $0.00
               Components
               Wolverine Steel         7100-000       $16,496.49      $0.00      $0.00         $0.00

 UST Form 101-7-TDR (10/1/2010)
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               Inc
               Worldwide              7100-000         $270.77         $0.00           $0.00         $0.00
               Battery Co LLC
               Worrell                7100-000         $735.90         $0.00           $0.00         $0.00
               Petroleum Co
               Worthington            7100-000       $16,254.36        $0.00           $0.00         $0.00
               Specialty Process
               Yellen Metals          7100-000       $10,553.88        $0.00           $0.00         $0.00
               LLC
 TOTAL GENERAL UNSECURED CLAIMS                   $4,013,051.83 $12,205,900.2 $12,205,900.20         $0.00
                                                                            0




 UST Form 101-7-TDR (10/1/2010)
             Case 15-07401-JJG-7A                 Doc 698         Filed 10/13/20            EOD 10/13/20 20:34:41                    Pg Page
                                                                                                                                        19 No:
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                                                                     FORM 1
                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                Exhibit 8
                                                               ASSET CASES
Case No.:                    15-07401-JJG-7                                                 Trustee Name:                             Randall L. Woodruff
Case Name:                   S&S STEEL SERVICES, INC.                                       Date Filed (f) or Converted (c):          01/21/2016 (c)
For the Period Ending:       10/5/2020                                                      §341(a) Meeting Date:                     03/08/2016
                                                                                            Claims Bar Date:                          06/07/2016

                         1                           2                     3                         4                         5                       6

                 Asset Description                 Petition/       Estimated Net Value            Property               Sales/Funds            Asset Fully
                  (Scheduled and                 Unscheduled      (Value Determined by            Abandoned             Received by the      Administered (FA) /
             Unscheduled (u) Property)              Value                Trustee,           OA =§ 554(a) abandon.           Estate             Gross Value of
                                                                 Less Liens, Exemptions,                                                      Remaining Assets
                                                                    and Other Costs)

 Ref. #
1       444 E. 29th St. Anderson, IN                     $0.00                      $0.00           OA                              $0.00                      FA
        46016
        ADMINISTERED IN
        CHAPTER 11 CASE
2       Operating account with Wells                     $0.00                      $0.00           OA                              $0.00                      FA
        Fargo Bank, N.A. Account
        ending in 5635
        ADMINISTERED IN
        CHAPTER 11 CASE
3       Deposit account with Wells                       $0.00                      $0.00           OA                              $0.00                      FA
        Fargo Bank, NA- Account
        ending in 5650
        ADMINISTERED IN
        CHAPTER 11 CASE
4       Checking account with PNC                        $0.00                      $0.00           OA                              $0.00                      FA
        Bank- account ending in 6281
        ADMINISTERED IN
        CHAPTER 11 CASE
5       American Family                                  $0.00                      $0.00           OA                              $0.00                      FA
        Insurance/Hartford Life
        Insurance Company Face Value
        $6,000,000.00 Cash Surrender
        Value $35,153.27 Beneficiary is
        S&S Steel Services,
        Inc./Assigned to Wells Fargo as
        collateral on April 30, 2015
        ADMINISTERED IN
        CHAPTER 11 CASE
6       444 E. 29th St. Anderson, IN                     $0.00                      $0.00           OA                              $0.00                      FA
        46016 Less doubtful accounts
        ADMINISTERED IN
        CHAPTER 11 CASE
7       Potential claims against former             Unknown                         $1.00                                           $0.00                      FA
        sales manager for breach of
        noncompete, and related
        damages.
8       Website/Domain:                                  $0.00                      $0.00           OA                              $0.00                      FA
        http://www.sssteelservices.com
        /sssteel/
        ADMINISTERED IN
        CHAPTER 11 CASE
9       Customer List 444 E. 29th St.                    $0.00                      $0.00           OA                              $0.00                      FA
        Anderson, IN 46016
        ADMINISTERED IN
        CHAPTER 11 CASE
             Case 15-07401-JJG-7A                      Doc 698           Filed 10/13/20             EOD 10/13/20 20:34:41                    Pg Page
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                                                                            FORM 1
                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                       Exhibit 8
                                                                ASSET CASES
Case No.:                     15-07401-JJG-7                                                        Trustee Name:                             Randall L. Woodruff
Case Name:                    S&S STEEL SERVICES, INC.                                              Date Filed (f) or Converted (c):          01/21/2016 (c)
For the Period Ending:        10/5/2020                                                             §341(a) Meeting Date:                     03/08/2016
                                                                                                    Claims Bar Date:                          06/07/2016

                         1                                 2                      3                          4                         5                       6

                 Asset Description                     Petition/         Estimated Net Value              Property               Sales/Funds            Asset Fully
                  (Scheduled and                     Unscheduled        (Value Determined by              Abandoned             Received by the      Administered (FA) /
             Unscheduled (u) Property)                  Value                  Trustee,             OA =§ 554(a) abandon.           Estate             Gross Value of
                                                                       Less Liens, Exemptions,                                                        Remaining Assets
                                                                          and Other Costs)

10      Vehicles, trailers, and                                $0.00                       $0.00            OA                               $0.00                     FA
        accessories. See attached list.
        444 E. 29th St. Anderson, IN
        46016
        ADMINISTERED IN
        CHAPTER 11 CASE
11      Office equipment, furniture,                           $0.00                       $0.00            OA                               $0.00                     FA
        supplies, computers,
        appliances, printers, fax
        machines, telephone system,
        fitness equipment, radios,
        software, 444 E. 29th St.
        Anderson, IN 46016
        ADMINISTERED IN
        CHAPTER 11 CASE
12      See attached list. 444 E. 29th                         $0.00                       $0.00            OA                               $0.00                     FA
        St. Anderson, IN 46016
        Estimated at forced liquidation
        value.
        ADMINISTERED IN
        CHAPTER 11 CASE
13      Steel coils, sheets, and scrap.                        $0.00                       $0.00            OA                               $0.00                     FA
        444 E. 29th St. Anderson, IN
        46016 2812 E. 38th St.
        Anderson, IN 46016 Valued at
        60% of cost value.
        ADMINISTERED IN
        CHAPTER 11 CASE
14      Leasehold improvements                                 $0.00                       $0.00            OA                               $0.00                     FA
        relating to lease of real property
        located at 444 E. 29th St.,
        Anderson, IN 46016 and 2812
        E. 38th St., Anderson, IN
        46016. Leases are set forth on
        Schedule G. Book value less
        accrued additional depreciation.
        ADMINISTERED IN
        CHAPTER 11 CASE
15      vehicle sale proceeds                  (u)             $0.00                  $28,830.00                                        $28,830.00                     FA
16     avoidance actions vs any              (u)            $0.00                          $0.00                                       $753,468.08                     FA
       "non-insider" as defined in 11
       U.S.C. 101(31)(B)
Asset Notes:     Collections continue. Some amounts yet to be collected.
17     causes of action against any           (u)            $0.00                          $1.00                                       $50,000.00                     FA
       "insiders" of debtor as defined
       in 11 U.S.C. 101(31)(B)
Asset Notes:      Trustee seeks to employ Fox Rothschild as Special Counsel in all such claims.
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                                                                            FORM 1
                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                         Exhibit 8
                                                                ASSET CASES
Case No.:                    15-07401-JJG-7                                                          Trustee Name:                              Randall L. Woodruff
Case Name:                   S&S STEEL SERVICES, INC.                                                Date Filed (f) or Converted (c):           01/21/2016 (c)
For the Period Ending:       10/5/2020                                                               §341(a) Meeting Date:                      03/08/2016
                                                                                                     Claims Bar Date:                           06/07/2016

                         1                                2                       3                            4                         5                         6

                 Asset Description                     Petition/         Estimated Net Value              Property                 Sales/Funds                Asset Fully
                  (Scheduled and                     Unscheduled        (Value Determined by              Abandoned               Received by the          Administered (FA) /
             Unscheduled (u) Property)                  Value                  Trustee,             OA =§ 554(a) abandon.             Estate                 Gross Value of
                                                                       Less Liens, Exemptions,                                                              Remaining Assets
                                                                          and Other Costs)

18      health insurance premium               (u)            $0.00                        $1.00                                         $14,552.03                          FA
        refund
19      unused workers compensation            (u)            $0.00                   $17,171.00                                         $17,171.00                          FA
        plan premium


TOTALS (Excluding unknown value)                                                                                                           Gross Value of Remaining Assets
                                                              $0.00                   $46,004.00                                        $864,021.11                 $0.00




     Major Activities affecting case closing:
      06/01/2019     Special Counsel (insider preference claims) fee application Order is still pending; claim for unused workers compensation insurance
                     premium refund pending.
      07/02/2018     Trial v. Sharp, et al has been continued; mediation is scheduled for 8/7/18.
      05/16/2018     Trial v. Sharp, et al 5/16-18/2018, Rm. 311, U.S. Courthouse, Indpls, IN
      04/11/2016     Court grants Trustee's motions to employ Ice Miller and Fox Rothschild as Special Counsel


Initial Projected Date Of Final Report (TFR):           06/30/2017                                                      /s/ RANDALL L. WOODRUFF
Current Projected Date Of Final Report (TFR):           09/30/2019                                                      RANDALL L. WOODRUFF
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                                                                         FORM 2                                                                     Exhibit 9
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-07401-JJG-7                                                           Trustee Name:                           Randall L. Woodruff
Case Name:                         S&S STEEL SERVICES, INC.                                                 Bank Name:                              Bank of Texas
Primary Taxpayer ID #:             **-***6723                                                               Checking Acct #:                        ******4372
Co-Debtor Taxpayer ID #:                                                                                    Account Title:
For Period Beginning:              8/31/2015                                                                Blanket bond (per case limit):          $1,000,000.00
For Period Ending:                 10/5/2020                                                                Separate bond (if applicable):

       1                2                      3                                      4                                        5                6                   7

   Transaction       Check /              Paid to/                      Description of Transaction           Uniform         Deposit      Disbursement          Balance
      Date            Ref. #           Received From                                                        Tran Code          $               $


03/03/2016            (15)     Wells Fargo                    vehicles sales proceeds                       1290-010         $28,830.00                          $28,830.00
03/31/2016                     Bank of Texas                  Account Analysis Fee                          2600-000                            $41.72           $28,788.28
04/29/2016                     Bank of Texas                  Account Analysis Fee                          2600-000                            $44.83           $28,743.45
05/31/2016                     Bank of Texas                  Account Analysis Fee                          2600-000                            $46.25           $28,697.20
06/30/2016                     Bank of Texas                  Account Analysis Fee                          2600-000                            $44.69           $28,652.51
07/29/2016                     Bank of Texas                  Account Analysis Fee                          2600-000                            $46.11           $28,606.40
08/31/2016                     Bank of Texas                  Account Analysis Fee                          2600-000                            $46.03           $28,560.37
09/30/2016                     Bank of Texas                  Account Analysis Fee                          2600-000                            $44.47           $28,515.90
10/31/2016                     Bank of Texas                  Account Analysis Fee                          2600-000                            $45.89           $28,470.01
11/04/2016           3001      International Sureties, Ltd.   Bond # 016028270                              2300-000                            $21.04           $28,448.97
11/30/2016                     Bank of Texas                  Account Analysis Fee                          2600-000                            $44.31           $28,404.66
12/01/2016            (16)     Cassidy C. Fritz P.C.          preference payment                            1241-000            $385.85                          $28,790.51
12/01/2016            (16)     Haywood L. Martin and Jo       preference payment                            1241-000          $1,700.00                          $30,490.51
                               Ann Martin
12/01/2016            (16)     Accurate Cutting               preference payment                            1241-000            $359.70                          $30,850.21
                               Technologies, Inc.
12/01/2016            (16)     J & E Tire Center, Inc.        preference payment                            1241-000          $1,072.02                          $31,922.23
12/01/2016            (16)     Aspen Transportation,          PREFERENCE PAYMENT                            1241-000          $1,800.00                          $33,722.23
                               LLC
12/08/2016            (16)     Insight Worldwide              payment of preference                         1241-000            $742.50                          $34,464.73
12/08/2016            (16)     Emergency Radio Service,       payment of preference                         1241-000            $205.44                          $34,670.17
                               LLC
12/15/2016            (16)     Jerry W. Hays and Rillie       non-insider preference payment in full        1241-000            $138.00                          $34,808.17
                               M.Hays
12/15/2016            (16)     JTSC Telecommunications        non-insider preference payment in full        1241-000            $281.25                          $35,089.42
                               Services Company
12/23/2016            (16)     Taurus Tool & Engineering      payment of non-insder preference              1241-000            $623.00                          $35,712.42
                                                              demand
12/23/2016            (16)     Service Crane Co.              payment of non-insder preference              1241-000          $1,212.50                          $36,924.92
                                                              demand
12/23/2016            (16)     VOSS Clark                     payment of non-insder preference              1241-000            $353.99                          $37,278.91
                                                              demand
12/30/2016                     Bank of Texas                  Account Analysis Fee                          2600-000                            $54.87           $37,224.04
01/06/2017            (16)     Universal Metals LLC           non-insider preference payment in full        1241-000          $9,374.86                          $46,598.90
01/31/2017                     Bank of Texas                  Account Analysis Fee                          2600-000                            $70.80           $46,528.10
02/08/2017            (16)     Ratner Steel Supply Co.        payment in full of preference payment         1241-000          $8,800.82                          $55,328.92
02/28/2017                     Bank of Texas                  Account Analysis Fee                          2600-000                            $76.97           $55,251.95
03/31/2017                     Bank of Texas                  Account Analysis Fee                          2600-000                            $89.15           $55,162.80
04/01/2017            (16)     Kenwal Steel Corp              Accepted payment per Order of                 1241-000          $5,744.03                          $60,906.83
                                                              3/23/2017
                                                              Kenwal Steel Corp


                                                                                                          SUBTOTALS          $61,623.96        $717.13
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                                                                        FORM 2                                                                    Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-07401-JJG-7                                                         Trustee Name:                           Randall L. Woodruff
Case Name:                         S&S STEEL SERVICES, INC.                                               Bank Name:                              Bank of Texas
Primary Taxpayer ID #:             **-***6723                                                             Checking Acct #:                        ******4372
Co-Debtor Taxpayer ID #:                                                                                  Account Title:
For Period Beginning:              8/31/2015                                                              Blanket bond (per case limit):          $1,000,000.00
For Period Ending:                 10/5/2020                                                              Separate bond (if applicable):

       1                2                      3                                   4                                         5                6                   7

   Transaction       Check /             Paid to/                      Description of Transaction          Uniform         Deposit      Disbursement          Balance
      Date            Ref. #          Received From                                                       Tran Code          $               $


04/01/2017            (16)     Efreightship.LLC              Accepted payment per Order of                1241-000          $1,800.00                           $62,706.83
                                                             3/23/2017
                                                             Efreightship, LLC
04/01/2017            (16)     Steel Spectrum, LLC           Accepted payment per Order of                1241-000          $1,000.00                           $63,706.83
                                                             3/23/2017
                                                             Steel Spectrum LLC
04/01/2017            (16)     Steel Spectrum LLC            Accepted payment per Order of                1241-000          $1,000.00                           $64,706.83
                                                             3/23/2017
                                                             Steel Spectrum LLC
04/01/2017            (16)     Steel Spectrum LLC            Accepted payment per Order of                1241-000          $1,000.00                           $65,706.83
                                                             3/23/2017
                                                             Steel Spectrum LLC
04/01/2017            (16)     Steel Spectrum LLC            Accepted payment per Order of                1241-000          $1,000.00                           $66,706.83
                                                             3/23/2017
                                                             Steel Spectrum LLC
04/01/2017            (16)     Harvard Stel Sales LTD        Accepted payment per Order of                1241-000         $13,000.00                           $79,706.83
                                                             3/23/2017
                                                             Harvard Steel Sales LTD
04/01/2017            (16)     Royal Metal Industries,       Accepted payment per Order of                1241-000         $12,000.00                           $91,706.83
                               Inc.                          3/23/2017
                                                             Royal Metal Industries, Inc.
04/01/2017            (16)     Steel Technologies, LLC       Accepted payment per Order of                1241-000          $3,500.00                           $95,206.83
                                                             3/23/2017
                                                             Steel Technologies LLC
04/01/2017            (16)     Synchrony Financial           Accepted payment per Order of                1241-000            $137.24                           $95,344.07
                                                             3/23/2017
                                                             Synchrony Financial
04/01/2017            (16)     Mode Transportation, LLC      Accepted payment per Order of                1241-000            $550.00                           $95,894.07
                                                             3/23/2017
                                                             Mode Transportation LLC
04/01/2017            (16)     Surplus Metals Corp           Accepted payment per Order of                1241-000         $10,000.00                          $105,894.07
                                                             3/23/2017
                                                             Surplus Metals Corp
04/21/2017           3002      Wells Fargo Bank NA           partial payment of 507(b) admin claim        2990-800                         $76,811.23           $29,082.84
                                                             per Order of 03/23/17
04/24/2017            (16)     Eagle Capital Corporation     settlement per Order of 03/23/2017           1241-000          $3,400.00                           $32,482.84
04/24/2017            (16)     Steel Spectrum LLC            settlement per Order of 03/23/2017           1241-000          $1,000.00                           $33,482.84
04/24/2017            (16)     Access Steel Supply, LLC      settlement per Order of 03/23/2017           1241-000          $4,000.00                           $37,482.84
04/24/2017            (16)     Alro Seel Corporation         settlement per Order of 03/23/2017           1241-000            $200.00                           $37,682.84
04/24/2017            (16)     Alto Steel Company, Inc.      Initial payment per settlement per Order     1241-000          $6,000.00                           $43,682.84
                                                             of 03/23/17
04/24/2017            (16)     Barnes & Thornburg, LLP       settlement per Order of 03/23/2017           1241-000          $2,763.25                           $46,446.09
04/24/2017            (16)     Cargill Incorporated          settlement per Order of 03/23/2017           1241-000         $27,687.44                           $74,133.53
04/24/2017            (16)     Eagle Steel Corporation       settlement per Order of 03/23/2017           1241-000         $10,000.00                           $84,133.53

                                                                                                        SUBTOTALS       $100,037.93        $76,811.23
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                                                                         FORM 2                                                                         Exhibit 9
                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-07401-JJG-7                                                               Trustee Name:                           Randall L. Woodruff
Case Name:                         S&S STEEL SERVICES, INC.                                                     Bank Name:                              Bank of Texas
Primary Taxpayer ID #:             **-***6723                                                                   Checking Acct #:                        ******4372
Co-Debtor Taxpayer ID #:                                                                                        Account Title:
For Period Beginning:              8/31/2015                                                                    Blanket bond (per case limit):          $1,000,000.00
For Period Ending:                 10/5/2020                                                                    Separate bond (if applicable):

       1                2                      3                                     4                                             5                6                   7

   Transaction       Check /              Paid to/                     Description of Transaction                Uniform         Deposit      Disbursement          Balance
      Date            Ref. #           Received From                                                            Tran Code          $               $


04/24/2017            (16)     Esmark Steel Group -          settlement per Order of 03/23/2017                 1241-000         $15,558.06                           $99,691.59
                               Midwest
04/24/2017            (16)     Heidtman Steel Products       settlement per Order of 03/23/2017                 1241-000          $4,007.00                          $103,698.59
04/24/2017            (16)     K&M Transport LLC             settlement per Order of 03/23/2017                 1241-000          $4,200.00                          $107,898.59
04/24/2017            (16)     Metals USA                    settlement per Order of 03/23/2017                 1241-000          $4,992.51                          $112,891.10
04/24/2017            (16)     Miami Valley Steel Service,   settlement per Order of 03/23/2017                 1241-000          $6,000.00                          $118,891.10
                               Inc.
04/24/2017            (16)     Monarch Steel Company,        settlement per Order of 03/23/2017                 1241-000          $7,000.00                          $125,891.10
                               Inc.
04/24/2017            (16)     National Material             settlement per Order of 03/23/2017                 1241-000          $2,068.69                          $127,959.79
                               Company
04/24/2017            (16)     Packaging Systems of          settlement per Order of 03/23/2017                 1241-000          $9,199.90                          $137,159.69
                               Indiana, Inc.
04/24/2017            (16)     Pioneer Lumber Company        settlement per Order of 03/23/2017                 1241-000          $8,765.46                          $145,925.15
04/24/2017            (16)     Taylor Steel Inc.             setttlement per Order of 03/23/2017                1241-000         $23,400.00                          $169,325.15
04/24/2017            (16)     Viking Materials              settlement per Order of 03/23/2017                 1241-000          $1,250.00                          $170,575.15
04/24/2017            (16)     Vision Metals, LLC            settlement per Order of 03/23/2017                 1241-000          $1,000.00                          $171,575.15
04/24/2017            (16)     Alto Steel Company, Inc.      2nd installment of settlement per Order            1241-000          $6,000.00                          $177,575.15
                                                             of 03/23/2017
04/24/2017            (16)     The Universal Steel           settlement per Order of 03/23/2017                 1241-000          $1,314.95                          $178,890.10
                               Company
04/28/2017                     Bank of Texas                 Account Analysis Fee                               2600-000                           $195.53           $178,694.57
05/23/2017           3003      Clerk, U.S. Bankruptcy        deferred A/P filing fees                               *                             $1,050.00          $177,644.57
                               Court
                                                             Case # 16-50376                        $(350.00)   2700-000                                             $177,644.57
                                                             Case #16-50377                         $(350.00)   2700-000                                             $177,644.57
                                                             Case #16-50378                         $(350.00)   2700-000                                             $177,644.57
05/23/2017           3004      Clerk, U.S. Bankruptcy        filing fees for A/P cases                              *                             $1,050.00          $176,594.57
                               Court
                                                             Case #16-50379                         $(350.00)   2700-000                                             $176,594.57
                                                             Case #16-50380                         $(350.00)   2700-000                                             $176,594.57
                                                             Case #16-50381                         $(350.00)   2700-000                                             $176,594.57
05/23/2017           3005      Clerk, U.S. Bankruptcy        filing fees for A/P cases                              *                             $1,050.00          $175,544.57
                               Court
                                                             Case #16-50382                         $(350.00)   2700-000                                             $175,544.57
                                                             Case #16-50383                         $(350.00)   2700-000                                             $175,544.57
                                                             Case #16-50386                         $(350.00)   2700-000                                             $175,544.57
05/23/2017           3006      Clerk, U.S. Bankruptcy        filing fees for A/P cases                              *                             $1,050.00          $174,494.57
                               Court
                                                             Case #16-50387                         $(350.00)   2700-000                                             $174,494.57
                                                             Case #16-50388                         $(350.00)   2700-000                                             $174,494.57
                                                             Case #16-50389                         $(350.00)   2700-000                                             $174,494.57



                                                                                                           SUBTOTALS             $94,756.57       $4,395.53
             Case 15-07401-JJG-7A                       Doc 698        Filed 10/13/20               EOD 10/13/20 20:34:41                      Pg 25 of 34
                                                                                                                                                     Page No: 4
                                                                       FORM 2                                                                         Exhibit 9
                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          15-07401-JJG-7                                                              Trustee Name:                           Randall L. Woodruff
Case Name:                        S&S STEEL SERVICES, INC.                                                    Bank Name:                              Bank of Texas
Primary Taxpayer ID #:            **-***6723                                                                  Checking Acct #:                        ******4372
Co-Debtor Taxpayer ID #:                                                                                      Account Title:
For Period Beginning:             8/31/2015                                                                   Blanket bond (per case limit):          $1,000,000.00
For Period Ending:                10/5/2020                                                                   Separate bond (if applicable):

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   Transaction       Check /             Paid to/                    Description of Transaction                Uniform         Deposit       Disbursement         Balance
      Date            Ref. #          Received From                                                           Tran Code          $                $


05/23/2017           3007      Clerk, U.S. Bankruptcy      filing fees for A/P cases                              *                             $1,050.00          $173,444.57
                               Court
                                                           Case #16-50390                         $(350.00)   2700-000                                             $173,444.57
                                                           Case #16-50391                         $(350.00)   2700-000                                             $173,444.57
                                                           Case #16-50392                         $(350.00)   2700-000                                             $173,444.57
05/23/2017           3008      Clerk, U.S. Bankruptcy      filing fees for A/P cases                              *                             $1,050.00          $172,394.57
                               Court
                                                           Case #16-50393                         $(350.00)   2700-000                                             $172,394.57
                                                           Case #16-50394                         $(350.00)   2700-000                                             $172,394.57
                                                           Case #17-50006                         $(350.00)   2700-000                                             $172,394.57
05/23/2017           3009      Clerk, U.S. Bankruptcy      filing fees for A/P cases                              *                             $1,050.00          $171,344.57
                               Court
                                                           Case #17-50007                         $(350.00)   2700-000                                             $171,344.57
                                                           Case #17-50008                         $(350.00)   2700-000                                             $171,344.57
                                                           Case #17-50009                         $(350.00)   2700-000                                             $171,344.57
05/23/2017           3010      Clerk, U.S. Bankruptcy      filing fees for A/P cases                              *                             $1,050.00          $170,294.57
                               Court
                                                           Case #17-50010                         $(350.00)   2700-000                                             $170,294.57
                                                           Case #17-50011                         $(350.00)   2700-000                                             $170,294.57
                                                           Case #17-50018                         $(350.00)   2700-000                                             $170,294.57
05/23/2017            3011     Clerk, U.S. Bankruptcy      filing fees for A/P cases                              *                             $1,050.00          $169,244.57
                               Court
                                                           Case #17-50019                         $(350.00)   2700-000                                             $169,244.57
                                                           Case #17-50020                         $(350.00)   2700-000                                             $169,244.57
                                                           Case #17-50021                         $(350.00)   2700-000                                             $169,244.57
05/23/2017           3012      Clerk, U.S. Bankruptcy      filing fees for A/P cases                              *                             $1,050.00          $168,194.57
                               Court
                                                           Case #17-50022                         $(350.00)   2700-000                                             $168,194.57
                                                           Case #17-50023                         $(350.00)   2700-000                                             $168,194.57
                                                           Case #17-50024                         $(350.00)   2700-000                                             $168,194.57
05/23/2017           3013      Clerk, U.S. Bankruptcy      filing fees for A/P cases                              *                             $1,050.00          $167,144.57
                               Court
                                                           Case #17-50025                         $(350.00)   2700-000                                             $167,144.57
                                                           Case #17-50026                         $(350.00)   2700-000                                             $167,144.57
                                                           Case #17-50027                         $(350.00)   2700-000                                             $167,144.57
05/23/2017           3014      Clerk, U.S. Bankruptcy      filing fees for A/P cases                              *                             $1,050.00          $166,094.57
                               Court
                                                           Case #17-50028                         $(350.00)   2700-000                                             $166,094.57
                                                           Case #17-50029                         $(350.00)   2700-000                                             $166,094.57
                                                           Case #17-50030                         $(350.00)   2700-000                                             $166,094.57




                                                                                                         SUBTOTALS                   $0.00      $8,400.00
             Case 15-07401-JJG-7A                        Doc 698         Filed 10/13/20                EOD 10/13/20 20:34:41                      Pg 26 of 34
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                                                                         FORM 2                                                                          Exhibit 9
                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-07401-JJG-7                                                                Trustee Name:                           Randall L. Woodruff
Case Name:                         S&S STEEL SERVICES, INC.                                                      Bank Name:                              Bank of Texas
Primary Taxpayer ID #:             **-***6723                                                                    Checking Acct #:                        ******4372
Co-Debtor Taxpayer ID #:                                                                                         Account Title:
For Period Beginning:              8/31/2015                                                                     Blanket bond (per case limit):          $1,000,000.00
For Period Ending:                 10/5/2020                                                                     Separate bond (if applicable):

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   Transaction       Check /              Paid to/                     Description of Transaction                 Uniform         Deposit      Disbursement          Balance
      Date            Ref. #           Received From                                                             Tran Code          $               $


05/23/2017           3015      Clerk, U.S. Bankruptcy        filing fees for A/P cases                               *                             $1,050.00          $165,044.57
                               Court
                                                             Case #17-50031                          $(350.00)   2700-000                                             $165,044.57
                                                             Case #17-50034                          $(350.00)   2700-000                                             $165,044.57
                                                             Case #17-50035                          $(350.00)   2700-000                                             $165,044.57
05/23/2017           3016      Clerk, U.S. Bankruptcy        filing fees for A/P cases                               *                             $1,050.00          $163,994.57
                               Court
                                                             Case #17-50036                          $(350.00)   2700-000                                             $163,994.57
                                                             Case #17-50037                          $(350.00)   2700-000                                             $163,994.57
                                                             Case #17-50038                          $(350.00)   2700-000                                             $163,994.57
05/23/2017           3017      Clerk, U.S. Bankruptcy        filing fees for A/P cases                               *                             $1,050.00          $162,944.57
                               Court
                                                             Case #17-50039                          $(350.00)   2700-000                                             $162,944.57
                                                             Case #17-50040                          $(350.00)   2700-000                                             $162,944.57
                                                             Case #17-50041                          $(350.00)   2700-000                                             $162,944.57
05/23/2017           3018      Clerk, U.S. Bankruptcy        filing fees for A/P cases                               *                             $1,050.00          $161,894.57
                               Court
                                                             Case #17-50042                          $(350.00)   2700-000                                             $161,894.57
                                                             Case #17-50043                          $(350.00)   2700-000                                             $161,894.57
                                                             Case #17-50118                          $(350.00)   2700-000                                             $161,894.57
05/26/2017            (16)     Universal Truckload           non-insider preference settlement per               1241-000          $5,350.00                          $167,244.57
                                                             Order of 05/18/17
05/26/2017            (16)     C.H. Robbinson                non-insider preference settlement per               1241-000         $10,000.00                          $177,244.57
                               Innternational Inc.           Order of 05/18/17
05/26/2017            (16)     Phoenix Steel Service, Inc.   non-insider preference settlement per               1241-000          $9,000.00                          $186,244.57
                                                             Order of 05/18/17
05/26/2017            (16)     Superior Steel Supply LLC     non-insider preference settlement per               1241-000          $7,150.00                          $193,394.57
                                                             Order of 05/18/17
05/26/2017            (16)     Steel Spectrum LLC            non-insider preference settlement per               1241-000          $1,000.00                          $194,394.57
                                                             Order of 05/18/17
05/26/2017            (16)     West Walker Steel             non-insider preference settlement per               1241-000          $3,000.00                          $197,394.57
                                                             Order of 05/18/17
05/26/2017            (16)     DuCharme, McMillen &          non-insider preference settlement per               1241-000         $28,500.00                          $225,894.57
                               Associates, Inc.              Order of 05/18/17
05/26/2017            (16)     Steel Warehouse Company       non-insider preference settlement per               1241-000          $6,757.09                          $232,651.66
                               LLC                           Order of 05/18/17
05/26/2017            (16)     Blue Fin Steel Corporation    non-insider preference settlement per               1241-000          $6,210.00                          $238,861.66
                                                             Order of 05/18/17; credit adjustment for
                                                             international item.
05/26/2017            (16)     Anchor Steel LLC              non-insider preference settlement per               1241-000          $5,750.00                          $244,611.66
                                                             Order of 05/18/17
05/31/2017                     Bank of Texas                 Account Analysis Fee                                2600-000                           $294.89           $244,316.77




                                                                                                            SUBTOTALS             $82,717.09       $4,494.89
             Case 15-07401-JJG-7A                        Doc 698        Filed 10/13/20                 EOD 10/13/20 20:34:41                 Pg 27 of 34
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                                                                        FORM 2                                                                       Exhibit 9
                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-07401-JJG-7                                                           Trustee Name:                            Randall L. Woodruff
Case Name:                         S&S STEEL SERVICES, INC.                                                 Bank Name:                               Bank of Texas
Primary Taxpayer ID #:             **-***6723                                                               Checking Acct #:                         ******4372
Co-Debtor Taxpayer ID #:                                                                                    Account Title:
For Period Beginning:              8/31/2015                                                                Blanket bond (per case limit):           $1,000,000.00
For Period Ending:                 10/5/2020                                                                Separate bond (if applicable):

       1                2                      3                                    4                                          5                 6                   7

   Transaction       Check /                Paid to/                   Description of Transaction            Uniform         Deposit      Disbursement           Balance
      Date            Ref. #             Received From                                                      Tran Code          $               $


06/06/2017            (16)     wire in                       settlement proceeds per Order of               1241-000         $19,500.00                           $263,816.77
                                                             5/18/2017 (ArcelorMittal); actual deposit
                                                             date = 05/30/2017
06/12/2017           3019      Wells Fargo                   partial payment of super administrative        2990-800                          $69,176.86          $194,639.91
                                                             claim per Order of 5/18/2017
06/15/2017            (16)     Colorado Metals LLC           non-insider preference settlement per          1241-000         $12,814.76                           $207,454.67
                                                             Order of 05/18/17
06/15/2017            (16)     HMB Steel                     non-insider preference settlement              1241-000          $9,991.30                           $217,445.97
                                                             payment per Order of 05/18/17
06/15/2017            (16)     Eastern Metal Trading Co.,    non-insider preference settlement              1241-000          $2,848.92                           $220,294.89
                               Inc.                          payment per Order of 05/18/17
06/15/2017            (16)     Venture Steel, Inc.           non-insider preference settlement              1241-000         $10,600.36                           $230,895.25
                                                             payment per Order of 05/18/17
06/15/2017            (16)     KLB Steel LLC                 non-insider preference settlement              1241-000          $8,720.80                           $239,616.05
                                                             payment per Order of 05/18/17
06/15/2017            (16)     Meddford Metals               non-insider preference settlement              1241-000         $11,645.48                           $251,261.53
                                                             payment per Order of 05/18/17
06/15/2017            (16)     Steel Specttrum, LLC          non-insider settlement payment per court       1241-000          $1,000.00                           $252,261.53
                                                             order
06/20/2017            (16)     Nucor Castrip Arkansas,       settlement of preference claim per Order       1241-000         $67,992.42                           $320,253.95
                               LLC                           of 6/9/17
06/24/2017           3020      Wells Fargo                   partial payment of superiority                 2990-800                          $24,000.00          $296,253.95
                                                             administrative claim per Order of
                                                             6/9/2017
06/30/2017                     Bank of Texas                 Account Analysis Fee                           2600-000                            $441.90           $295,812.05
07/05/2017           3021      Wells Fargo                   partial payment of superiority                 2990-800                          $32,032.85          $263,779.20
                                                             administrative claim per Court order o
                                                             06/19/17.
07/13/2017            (16)     Industrial Steel & Fastener   non-insider preference settlement              1241-000          $1,420.00                           $265,199.20
                               Corp.                         payment
07/13/2017            (16)     Triamerica Steel Resources,   non-insider preference settlement              1241-000         $39,057.77                           $304,256.97
                               LLC                           payment
07/13/2017            (16)     Bridgeport Capital Services   non-insider preference settlement              1241-000            $500.00                           $304,756.97
                                                             payment
07/13/2017            (16)     United States Steel           non-insider preference settlement              1241-000         $44,226.70                           $348,983.67
                               Corporation                   payment
07/13/2017            (16)     Steel Spectrum LLC            non-insider preference settlement              1241-000          $1,000.00                           $349,983.67
                                                             payment
07/13/2017            (16)     State Steel Supply Co.        non-insider preference settlement              1241-000         $10,141.30                           $360,124.97
                                                             payment
07/13/2017            (16)     MidWest Materials Steel       non-insider preference settlement              1241-000          $8,734.11                           $368,859.08
                               Service Center                payment
07/13/2017            (16)     Odyssey CM Logistics          non-insider preference settlement              1241-000          $5,000.00                           $373,859.08
                               LLC                           payment

                                                                                                          SUBTOTALS       $255,193.92        $125,651.61
             Case 15-07401-JJG-7A                         Doc 698         Filed 10/13/20              EOD 10/13/20 20:34:41                     Pg 28 of 34
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                                                                          FORM 2                                                                        Exhibit 9
                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-07401-JJG-7                                                              Trustee Name:                            Randall L. Woodruff
Case Name:                         S&S STEEL SERVICES, INC.                                                    Bank Name:                               Bank of Texas
Primary Taxpayer ID #:             **-***6723                                                                  Checking Acct #:                         ******4372
Co-Debtor Taxpayer ID #:                                                                                       Account Title:
For Period Beginning:              8/31/2015                                                                   Blanket bond (per case limit):           $1,000,000.00
For Period Ending:                 10/5/2020                                                                   Separate bond (if applicable):

       1                2                      3                                     4                                             5                6                   7

   Transaction       Check /              Paid to/                       Description of Transaction            Uniform          Deposit       Disbursement          Balance
      Date            Ref. #           Received From                                                          Tran Code           $                $


07/31/2017                     Bank of Texas                 Account Analysis Fee                              2600-000                            $560.57           $373,298.51
08/03/2017            (16)     Wolverine Steel, Inc.         settlement payment of non-insider                 1241-000            $333.37                           $373,631.88
                                                             preference action
08/03/2017            (16)     Wolverine Steel, Inc.         settlement payment of non-insider                 1241-000            $333.33                           $373,965.21
                                                             preference action
08/03/2017            (16)     Steel Spectrum, LLC           settlement payment of non-insider                 1241-000           $1,000.00                          $374,965.21
                                                             preference action
08/03/2017            (16)     Premium Steel Sales, LLC      settlement payment of non-insider                 1241-000         $22,000.00                           $396,965.21
                                                             preference action
08/03/2017            (16)     TMC Transportation, Inc.      settlement payment of non-insider                 1241-000         $11,500.00                           $408,465.21
                                                             preference action
08/03/2017            (16)     Boyd Bros.                    settlement payment of non-insider                 1241-000           $3,400.00                          $411,865.21
                               Transportation, Inc.          preference action
08/03/2017            (16)     Worthington Industries,       settlement payment of non-insider                 1241-000         $15,000.00                           $426,865.21
                               Inc.                          preference action
08/28/2017           3022      Ice Miller LLP                interim comp per order of 8/25/2017               3210-600                          $65,863.46          $361,001.75
08/28/2017           3023      Ice Miller LLP                reimbursement of expenses per order of            3220-610                           $7,200.41          $353,801.34
                                                             08/25/2017
08/31/2017                     Bank of Texas                 Account Analysis Fee                              2600-000                            $671.75           $353,129.59
09/11/2017                     Pinnacle Bank                 Transfer Funds                                    9999-000                         $353,129.59                 $0.00

                                                                    TOTALS:                                                  $647,896.17        $647,896.17                 $0.00
                                                                        Less: Bank transfers/CDs                                   $0.00        $353,129.59
                                                                    Subtotal                                                 $647,896.17        $294,766.58
                                                                        Less: Payments to debtors                                  $0.00              $0.00
                                                                    Net                                                      $647,896.17        $294,766.58


  For the period of 8/31/2015 to 10/5/2020                                               For the entire history of the account between 02/24/2016 to 10/5/2020

  Total Compensable Receipts:                              $647,896.17                   Total Compensable Receipts:                                $647,896.17
  Total Non-Compensable Receipts:                                $0.00                   Total Non-Compensable Receipts:                                  $0.00
  Total Comp/Non Comp Receipts:                            $647,896.17                   Total Comp/Non Comp Receipts:                              $647,896.17
  Total Internal/Transfer Receipts:                              $0.00                   Total Internal/Transfer Receipts:                                $0.00


  Total Compensable Disbursements:                         $294,766.58                   Total Compensable Disbursements:                           $294,766.58
  Total Non-Compensable Disbursements:                           $0.00                   Total Non-Compensable Disbursements:                             $0.00
  Total Comp/Non Comp Disbursements:                       $294,766.58                   Total Comp/Non Comp Disbursements:                         $294,766.58
  Total Internal/Transfer Disbursements:                   $353,129.59                   Total Internal/Transfer Disbursements:                     $353,129.59
             Case 15-07401-JJG-7A                           Doc 698       Filed 10/13/20                 EOD 10/13/20 20:34:41                 Pg 29 of 34
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                                                                          FORM 2                                                                      Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-07401-JJG-7                                                             Trustee Name:                           Randall L. Woodruff
Case Name:                         S&S STEEL SERVICES, INC.                                                   Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:             **-***6723                                                                 Checking Acct #:                        ******0013
Co-Debtor Taxpayer ID #:                                                                                      Account Title:                          DDA
For Period Beginning:              8/31/2015                                                                  Blanket bond (per case limit):          $1,000,000.00
For Period Ending:                 10/5/2020                                                                  Separate bond (if applicable):

       1                2                      3                                      4                                          5                6                   7

   Transaction       Check /              Paid to/                       Description of Transaction            Uniform         Deposit      Disbursement          Balance
      Date            Ref. #           Received From                                                          Tran Code          $               $


09/11/2017                     Bank of Texas                   Transfer Funds                                 9999-000      $353,129.59                           $353,129.59
09/20/2017           5001      Wells Fargo                     partial payment of super-priority claim        2990-800                         $36,205.14         $316,924.45
                                                               per Order of 8/31/17
09/29/2017            (16)     Barnes & Thornburg, LLP,        SETTLEMENT OF NON-INSIDER                      1241-000          $5,626.00                         $322,550.45
                               IOLTA                           PREFERENCE
09/29/2017            (16)     Olympic Steel                   settlement of non-insider preference claim     1241-000         $22,500.00                         $345,050.45
09/29/2017            (16)     Wellington Steel Supply         settlement of non-insder preference claim      1241-000         $12,665.00                         $357,715.45
09/29/2017            (16)     Steel Spectrum LLC              settlement of non-insider preference claim     1241-000          $1,000.00                         $358,715.45
09/29/2017            (16)     Discount Metals, Inc.           settlement of non-insider preference claim     1241-000          $9,011.70                         $367,727.15
09/29/2017            (16)     Wolverine Steel, Inc.           settlement of non-insider preference claim     1241-000            $333.33                         $368,060.48
09/29/2017            (16)     Morales Group, Inc.             settlement of non-insider preference claim     1241-000         $11,500.00                         $379,560.48
09/29/2017            (16)     Great American Insurance        settlement of non-insider preference claim     1241-000         $19,200.00                         $398,760.48
                               Companies
10/03/2017                     Pinnacle Bank                   Pinnacle Analysis                              2600-000                           $363.96          $398,396.52
10/31/2017           5002      Bose McKinney & Evans           payment of special counsel fee per Order       3210-600                         $18,040.98         $380,355.54
                               LLP                             of 10/30/17 (doc 506)
10/31/2017           5003      Bose McKinney & Evans,          payment of special counsel expenses per        3220-610                           $900.60          $379,454.94
                               LLP                             Order of 10/30/17 (doc 506)
11/01/2017            (16)     Steel Spectrum LLC              PARTIAL PAYMENT OF                             1241-000          $1,000.00                         $380,454.94
                                                               PREFERENCE SETTLEMENT
11/01/2017            (16)     STEEL SPECTRUM                  PARTIAL PAYMENT OF                             1241-000          $1,000.00                         $381,454.94
                                                               PREFERENCE SETTLEMENT
11/01/2017            (16)     WOLVERINE STEEL,                PARTIAL PAYMENT OF                             1241-000            $333.33                         $381,788.27
                               INC.                            PREFERENCE SETTLEMENT
11/01/2017            (16)     WOLVERINE STEEL,                PARTIAL PAYMENT OF                             1241-000            $333.33                         $382,121.60
                               INC.                            PREFERENCE SETTLEMENT
11/02/2017                     Pinnacle Bank                   Pinnacle Analysis                              2600-000                           $638.79          $381,482.81
11/06/2017           5004      International Sureties, Ltd.    pro rata allocation of Trustee's Bond per      2300-000                           $262.49          $381,220.32
                                                               International Sureties, Ltd Invoice dated
                                                               11/03/17 for period 11/03/17 to
                                                               11/03/2018. Bond #016028270
11/13/2017           5005      Marietta Financial Services,    accountants' fee per Order of 11/13/17         3410-000                          $4,288.15         $376,932.17
                               Inc.                            (Doc 515)
11/13/2017           5006      Marietta Financial Services,    accountants' reimbursable expenses per         3420-000                           $148.90          $376,783.27
                               Inc.                            Order of 11/13/17 (Doc 515)
11/21/2017            (16)     Burt, Blee, Dixon, Sutton &     non-insider preference settlement              1241-000          $8,595.98                         $385,379.25
                               Bloom LLP
11/21/2017            (16)     Ice Miller trust account        non-insider preference settlement from         1241-000          $2,500.00                         $387,879.25
                                                               Russel Metals, Inc.
11/21/2017            (16)     Allied Steel                    non-insider preference settlement              1241-000          $1,750.00                         $389,629.25
11/21/2017            (16)     Alied Steel Industries, LP      non-insider preference settlement              1241-000          $1,750.00                         $391,379.25
                                                               payment


                                                                                                            SUBTOTALS       $452,228.26        $60,849.01
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                                                                           FORM 2                                                                     Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-07401-JJG-7                                                             Trustee Name:                           Randall L. Woodruff
Case Name:                         S&S STEEL SERVICES, INC.                                                   Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:             **-***6723                                                                 Checking Acct #:                        ******0013
Co-Debtor Taxpayer ID #:                                                                                      Account Title:                          DDA
For Period Beginning:              8/31/2015                                                                  Blanket bond (per case limit):          $1,000,000.00
For Period Ending:                 10/5/2020                                                                  Separate bond (if applicable):

       1                2                      3                                      4                                          5                6                   7

   Transaction       Check /             Paid to/                        Description of Transaction            Uniform         Deposit      Disbursement          Balance
      Date            Ref. #          Received From                                                           Tran Code          $               $


11/21/2017            (16)     Premier Steel LLC               non-insider preference settlement /            1241-000         $10,743.26                         $402,122.51
                                                               deposit reversed due to check being stale
                                                               and returned.
11/27/2017           5007      Wells Fargo                     partial payment of super-priority claim        2990-800                         $13,146.60         $388,975.91
                                                               per Order of 11/08/17
11/29/2017            (16)     DEP REVERSE: Premier            non-insider preference settlement /            1241-000      ($10,743.26)                          $378,232.65
                               Steel LLC                       deposit reversed due to check being stale
                                                               and returned.
11/30/2017           5008      UpShot Services LLC             payment for completion of Transition           6990-000                           $250.00          $377,982.65
                                                               Services per order of 4/25/16 (doc 258)
12/04/2017            (16)     Premier Steel LLC               settlement of non-insider preference claim     1241-000         $10,743.26                         $388,725.91
12/04/2017            (16)     Wolverine Steel, Inc.           payment on non-insider preference              1241-000            $333.33                         $389,059.24
                                                               settlement
12/04/2017            (16)     The Cross Law Firm, P.C.        settlement of non-insider preference claim     1241-000          $4,560.00                         $393,619.24
                               for Lew Thornburg
12/04/2017                     Pinnacle Bank                   Pinnacle Analysis                              2600-000                           $609.55          $393,009.69
01/08/2018                     Pinnacle Bank                   Pinnacle Analysis                              2600-000                           $638.87          $392,370.82
01/11/2018           5009      Wells Fargo                     partial payment of super-priority claim        2990-800                          $2,236.00         $390,134.82
                                                               per Order of 01/08/18 (doc 553)
01/12/2018            (16)     Allied Steel Industries LP      non insider preference settlement              1241-000          $1,750.00                         $391,884.82
01/31/2018            (16)     Wolverine Steel, Inc.           payment on non-insider preference              1241-000            $333.33                         $392,218.15
                                                               settlement
02/06/2018                     Pinnacle Bank                   Pinnacle Analysis                              2600-000                           $634.66          $391,583.49
02/07/2018            (16)     Timberlea Steel, Inc.           settlement of non-insider preference           1241-000          $8,000.00                         $399,583.49
                                                               action and paid thrrough Ice Miller trust
                                                               acct
02/21/2018            (16)     Allied Steel Industries LP      balance of non-insider preference claim        1241-000          $2,250.00                         $401,833.49
03/05/2018                     Pinnacle Bank                   Pinnacle Analysis                              2600-000                           $580.24          $401,253.25
03/06/2018            (16)     Wolverine Steeel, Inc.          payment on non-insider preference claim        1241-000            $333.33                         $401,586.58
03/30/2018                     Pinnacle Bank                   Pinnacle Analysis                              2600-000                           $648.06          $400,938.52
04/04/2018            (16)     Wolverine Steel, Inc.           payment of non-insider preference action       1241-000            $333.33                         $401,271.85
04/30/2018                     Pinnacle Bank                   Pinnacle Analysis                              2600-000                           $626.59          $400,645.26
05/07/2018            (16)     Wolverine Steel, Inc.           PARTIAL PAYMENT ON                             1241-000            $333.33                         $400,978.59
                                                               PREFERENCE SETTLEMENT
05/14/2018           5010      Marietta Financial Services,    accountant's fees paid per Order of            3410-000                          $4,123.95         $396,854.64
                               Inc.                            05/14/2018 (doc 579)
05/14/2018            5011     Marietta Financial Services,    reimbursable expenses per Order of             3420-000                            $74.45          $396,780.19
                               Inc.                            05/14/18 (doc 579)
05/31/2018                     Pinnacle Bank                   Pinnacle Analysis                              2600-000                           $645.13          $396,135.06
06/01/2018            (16)     Wolverine Steel,Inc.            payment on non-insider preference              1241-000            $333.33                         $396,468.39
                                                               settlement
06/29/2018                     Pinnacle Bank                   Pinnacle Analysis                              2600-000                           $619.09          $395,849.30
07/31/2018                     Pinnacle Bank                   Pinnacle Analysis                              2600-000                           $638.78          $395,210.52
                                                                                                            SUBTOTALS          $29,303.24      $25,471.97
             Case 15-07401-JJG-7A                         Doc 698         Filed 10/13/20                  EOD 10/13/20 20:34:41                 Pg 31 of 34
                                                                                                                                                      Page No: 10
                                                                          FORM 2                                                                        Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-07401-JJG-7                                                              Trustee Name:                            Randall L. Woodruff
Case Name:                         S&S STEEL SERVICES, INC.                                                    Bank Name:                               Pinnacle Bank
Primary Taxpayer ID #:             **-***6723                                                                  Checking Acct #:                         ******0013
Co-Debtor Taxpayer ID #:                                                                                       Account Title:                           DDA
For Period Beginning:              8/31/2015                                                                   Blanket bond (per case limit):           $1,000,000.00
For Period Ending:                 10/5/2020                                                                   Separate bond (if applicable):

       1                2                      3                                      4                                           5                 6                   7

   Transaction       Check /              Paid to/                      Description of Transaction              Uniform         Deposit        Disbursement         Balance
      Date            Ref. #           Received From                                                           Tran Code          $                 $


08/31/2018                     Pinnacle Bank                  Pinnacle Analysis                                2600-000                            $637.75          $394,572.77
09/17/2018           5012      Ice Miller LLP                 Special Counsel fees per Order of                3210-600                          $41,758.82         $352,813.95
                                                              09/14/18 (doc 617)
09/17/2018           5013      Ice Miller LLP                 Special Counsel expenses per Order of            3220-610                           $4,403.76         $348,410.19
                                                              09/14/18 (doc 617)
09/17/2018           5014      Ice Miller LLP                 General Counsel fees per Order of                3210-000                          $24,910.00         $323,500.19
                                                              09/14/18 (doc 618)
10/24/2018           5015      Bose McKinney & Evans,         attorney's' fees paid per Order of               3210-000                           $1,640.50         $321,859.69
                               LLP                            10/23/18 (doc 635)
11/15/2018           5016      International Sureties, Ltd.   Blanket bond allocation 11/3/18 to               2300-000                            $101.86          $321,757.83
                                                              11/3/19, Bond # 016028270
12/30/2018           5017      Mattingly Burke Cohen &        counsel for trustee fees per Order of            3210-000                          $10,915.00         $310,842.83
                               Biederman, LLP                 12/21/18
12/30/2018           5018      Mattingly Burke Cohen &        reimbursement of expenses per Order of           3220-000                             $85.91          $310,756.92
                               Biederman, LLP                 12/21/18
03/21/2019            (16)     IceMiller                      settlement of preference claim v. Triad          1241-000          $6,000.00                          $316,756.92
                                                              Metals
05/22/2019            (18)     Southeastern Indiana           health ins premium refund                        1249-000         $14,484.78                          $331,241.70
                               Health Operations, Inc.
05/22/2019            (18)     Southeastern Indiana           health ins premium refund                        1249-000               $67.25                        $331,308.95
                               Health Operations, Inc.
05/29/2019            (17)     Barry G. Sharp Sheree A.       settlement of insider preference adversary       1241-000         $50,000.00                          $381,308.95
                               Sharp                          proceeding
07/16/2019           5019      Fox Rothschild, LLP            special counsel's fee per Order of               3210-600                          $54,575.55         $326,733.40
                                                              7/16/2019 (doc 664)
07/16/2019           5020      Fox Rothschild, LLP            Special Counsel's reimbursable expenses          3220-610                          $12,297.30         $314,436.10
                                                              per Order of 07/16/2019 (doc 664)
10/30/2019           5021      International Sureties, Ltd.   Bond Payment                                     2300-000                            $150.52          $314,285.58
11/15/2019           5022      Marietta Financial Services    accountant's fees paid per Order of              3410-000                           $3,425.90         $310,859.68
                                                              11/12/2019 (doc 683)
11/15/2019           5023      Marietta Financial Services,   accountant's reimbursable expenses paid          3420-000                             $74.45          $310,785.23
                               Inc.                           per Order of 11/12/19 (doc 683)
12/04/2019            (19)     Applied Underwriters, Inc.     refund of unused w/c inurance plan               1229-000         $17,171.00                          $327,956.23
                                                              premium
04/15/2020           5024      Marietta Financial Services,   final accountant's fee per Order of              3410-000                           $1,843.10         $326,113.13
                               Inc.                           04/15/20 (doc 690)
04/15/2020           5025      Marietta Financial Services,   final accountant's expenses per Order of         3420-000                             $77.50          $326,035.63
                               Inc.                           04/15/20 (doc 690)
04/15/2020           5026      Mattingly Burke Cohen &        final attorney for trustee fees per Order        3210-000                          $20,482.00         $305,553.63
                               Biederman LLP                  of 04/15/20 (doc 691)
04/15/2020           5027      Mattingly Burke Cohen &        final attorney for Trustee expenses per          3220-000                           $3,297.70         $302,255.93
                               Biederman LLP                  Order of 04/15/20 (doc 691)
07/14/2020           5028      Randall L. Woodruff            Trustee Expenses                                 2200-000                           $1,246.71         $301,009.22


                                                                                                             SUBTOTALS          $87,723.03      $181,924.33
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                                                                                                                                                  Page No: 11
                                                                        FORM 2                                                                      Exhibit 9
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-07401-JJG-7                                                          Trustee Name:                            Randall L. Woodruff
Case Name:                         S&S STEEL SERVICES, INC.                                                Bank Name:                               Pinnacle Bank
Primary Taxpayer ID #:             **-***6723                                                              Checking Acct #:                         ******0013
Co-Debtor Taxpayer ID #:                                                                                   Account Title:                           DDA
For Period Beginning:              8/31/2015                                                               Blanket bond (per case limit):           $1,000,000.00
For Period Ending:                 10/5/2020                                                               Separate bond (if applicable):

       1                2                      3                                    4                                         5                 6                   7

   Transaction       Check /             Paid to/                     Description of Transaction            Uniform         Deposit       Disbursement          Balance
      Date            Ref. #          Received From                                                        Tran Code          $                $


07/14/2020           5029      Randall L. Woodruff,         Trustee Compensation                           2100-000                          $46,451.06         $254,558.16
                               Trustee
07/14/2020           5030      Viking Materials, Inc.       Claim #: 32; Amount Claimed: 15,250.84;        6990-000                           $3,453.31         $251,104.85
                                                            Amount Allowed: 15,250.84; Distribution
                                                            Dividend: 22.64;
07/14/2020           5031      Olympic Steel Inc.           Claim #: 38; Amount Claimed: 12,102.13;        6990-000                           $2,740.33         $248,364.52
                                                            Amount Allowed: 12,102.13; Distribution
                                                            Dividend: 22.64;
07/14/2020           5032      Calderone Advisory Group     Claim #: 62; Amount Claimed: 49,058.80;        6990-000                          $11,108.57         $237,255.95
                                                            Amount Allowed: 49,058.80; Distribution
                                                            Dividend: 22.64;
07/14/2020           5033      West Walker Steel            Claim #: 64; Amount Claimed: 16,646.00;        6990-000                           $3,769.22         $233,486.73
                               Company                      Amount Allowed: 16,646.00; Distribution
                                                            Dividend: 22.64;
07/14/2020           5034      Ice Miller LLP               Claim #: 70; Amount Claimed: 16,260.11;        6990-000                           $3,681.84         $229,804.89
                                                            Amount Allowed: 16,260.11; Distribution
                                                            Dividend: 22.64;
07/14/2020           5035      UpShot Services, LLC         Claim #: 71; Amount Claimed: 6,676.48;         6990-000                           $1,511.78         $228,293.11
                                                            Amount Allowed: 6,676.48; Distribution
                                                            Dividend: 22.64;
07/14/2020           5036      Kroger, Gardis & Regas,      Claim #: 72; Amount Claimed: 47,214.06;        6990-000                          $10,690.86         $217,602.25
                               LLP                          Amount Allowed: 47,214.06; Distribution
                                                            Dividend: 22.64;
07/14/2020           5037      U.S. Trustee                 Claim #: 76; Amount Claimed: 13,325.00;        2950-000                          $13,325.00         $204,277.25
                                                            Amount Allowed: 13,325.00; Distribution
                                                            Dividend: 100.00;
07/14/2020           5038      Fox Rothschild LLP           Claim #: 100; Amount Claimed:                  6700-000                          $11,041.28         $193,235.97
                                                            48,761.63; Amount Allowed: 48,761.63;
                                                            Distribution Dividend: 22.64;
07/14/2020           5039      Kerri Otto, Wells Fargo      Claim #: 101; Amount Claimed:                  6990-000                         $193,235.97                 $0.00
                               Capital Finance              853,388.35; Amount Allowed:
                                                            853,388.35; Distribution Dividend: 22.64;
07/14/2020           5039      VOID: Wells Fargo Bank,      issued to c/o entity rather than actual        6990-003                       ($193,235.97)         $193,235.97
                               National Association         claimant
07/14/2020           5040      Wells Fargo Bank, National   Claim #: 101; Amount Claimed:                  6990-000                         $193,235.97                 $0.00
                               Association                  853,388.35; Amount Allowed:
                                                            853,388.35; Distribution Dividend: 22.64;
07/31/2020                     Pinnacle Bank                Service Charge                                 2600-000                           $4,463.77          ($4,463.77)
08/03/2020                     Pinnacle Bank                Service Charge                                 2600-000                          ($4,463.77)                $0.00
08/31/2020                     Pinnacle Bank                Service Charge                                 2600-000                            $287.50              ($287.50)
09/01/2020                     Pinnacle Bank                Reverse bank fee                               2600-000                           ($287.50)                 $0.00




                                                                                                         SUBTOTALS                $0.00     $301,009.22
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                                                                     FORM 2                                                                        Exhibit 9
                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         15-07401-JJG-7                                                           Trustee Name:                            Randall L. Woodruff
Case Name:                       S&S STEEL SERVICES, INC.                                                 Bank Name:                               Pinnacle Bank
Primary Taxpayer ID #:           **-***6723                                                               Checking Acct #:                         ******0013
Co-Debtor Taxpayer ID #:                                                                                  Account Title:                           DDA
For Period Beginning:            8/31/2015                                                                Blanket bond (per case limit):           $1,000,000.00
For Period Ending:               10/5/2020                                                                Separate bond (if applicable):

      1                 2                    3                                  4                                            5                 6                   7

  Transaction        Check /            Paid to/                    Description of Transaction            Uniform          Deposit     Disbursement            Balance
     Date             Ref. #         Received From                                                       Tran Code           $              $


                                                               TOTALS:                                                  $569,254.53        $569,254.53                 $0.00
                                                                   Less: Bank transfers/CDs                             $353,129.59              $0.00
                                                               Subtotal                                                 $216,124.94        $569,254.53
                                                                   Less: Payments to debtors                                  $0.00              $0.00
                                                               Net                                                      $216,124.94        $569,254.53


 For the period of 8/31/2015 to 10/5/2020                                           For the entire history of the account between 09/11/2017 to 10/5/2020

 Total Compensable Receipts:                          $216,124.94                   Total Compensable Receipts:                                $216,124.94
 Total Non-Compensable Receipts:                            $0.00                   Total Non-Compensable Receipts:                                  $0.00
 Total Comp/Non Comp Receipts:                        $216,124.94                   Total Comp/Non Comp Receipts:                              $216,124.94
 Total Internal/Transfer Receipts:                    $353,129.59                   Total Internal/Transfer Receipts:                          $353,129.59


 Total Compensable Disbursements:                     $569,254.53                   Total Compensable Disbursements:                           $569,254.53
 Total Non-Compensable Disbursements:                       $0.00                   Total Non-Compensable Disbursements:                             $0.00
 Total Comp/Non Comp Disbursements:                   $569,254.53                   Total Comp/Non Comp Disbursements:                         $569,254.53
 Total Internal/Transfer Disbursements:                     $0.00                   Total Internal/Transfer Disbursements:                           $0.00
             Case 15-07401-JJG-7A                    Doc 698         Filed 10/13/20              EOD 10/13/20 20:34:41                     Pg 34 of 34
                                                                                                                                                 Page No: 13
                                                                     FORM 2                                                                       Exhibit 9
                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         15-07401-JJG-7                                                           Trustee Name:                           Randall L. Woodruff
Case Name:                       S&S STEEL SERVICES, INC.                                                 Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:           **-***6723                                                               Checking Acct #:                        ******0013
Co-Debtor Taxpayer ID #:                                                                                  Account Title:                          DDA
For Period Beginning:            8/31/2015                                                                Blanket bond (per case limit):          $1,000,000.00
For Period Ending:               10/5/2020                                                                Separate bond (if applicable):

      1                 2                    3                                  4                                            5                6                   7

  Transaction        Check /            Paid to/                    Description of Transaction            Uniform          Deposit     Disbursement           Balance
     Date             Ref. #         Received From                                                       Tran Code           $              $




                                                                                                                                                NET            ACCOUNT
                                                                         TOTAL - ALL ACCOUNTS                    NET DEPOSITS              DISBURSE           BALANCES

                                                                                                                        $864,021.11   $864,021.11                     $0.00




 For the period of 8/31/2015 to 10/5/2020                                           For the entire history of the case between 01/21/2016 to 10/5/2020

 Total Compensable Receipts:                          $864,021.11                   Total Compensable Receipts:                               $864,021.11
 Total Non-Compensable Receipts:                            $0.00                   Total Non-Compensable Receipts:                                 $0.00
 Total Comp/Non Comp Receipts:                        $864,021.11                   Total Comp/Non Comp Receipts:                             $864,021.11
 Total Internal/Transfer Receipts:                    $353,129.59                   Total Internal/Transfer Receipts:                         $353,129.59


 Total Compensable Disbursements:                     $864,021.11                   Total Compensable Disbursements:                          $864,021.11
 Total Non-Compensable Disbursements:                       $0.00                   Total Non-Compensable Disbursements:                            $0.00
 Total Comp/Non Comp Disbursements:                   $864,021.11                   Total Comp/Non Comp Disbursements:                        $864,021.11
 Total Internal/Transfer Disbursements:               $353,129.59                   Total Internal/Transfer Disbursements:                    $353,129.59




                                                                                                     /s/ RANDALL L. WOODRUFF
                                                                                                     RANDALL L. WOODRUFF
